Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 1 of 78 Page ID #:12




                   EXHIBIT A
             Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 2 of 78 Page ID #:13
Electron!call% FILED by Superior Court of California, County of Los Angeles on 12/16/2021 03:23 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
            •                                                                          21STCV45981



                                                                                                                                                                         SUM-100
                                                         SUMMONS                                                                                  FOR COURT USE ONLY
                                                                                                                                              (SOLO PARA USO OE LA CORTE)
                                                 .   (C1TACION JUDICIAL)
                 NOTICE TO DEFENDANT:
                (AVISO AL DEMANDADO):
                 GARFIELD BEACH CVS LLC dba CVS, a Limited Liability Company; and DOES 1 through 10,
                 inclusive,
                 YOU ARE BEING SUED BY PLAINTIFF:
                (LO ESTA DEMANDANDO EL DEMANDANTE):
                 JAQUELINE PONCE, an individual,
                  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
                  below.
                     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
                 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
                 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
                 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
                 court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
                  be taken without further warning from the court.
                     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
                  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
                 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalrfomia.org), the California Courts Online Self-Help Center
                (www.courtinfo.ca.goviselfhelp). or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
                 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
                 jAVISO!Lo han demandado. Si no responde denfro de 30 dlas, la carte puede decidir en su contra sin escuchar su version. Lea la informed& a
                 continuacien.
                     Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta cited& y papeles legates pare presentar una respuesta por escrito en este
                 coney hacer que se entregue una copia al demandante. Una carte o una Ilamada telefOnica no to protegen. Su respuesta par escrito tiene que ester
                 en formato legal correct° sidesea que procesen su caso en la code. Es posible que haya un formulario que usted pueda user para su respuesta.
                 Puede encontrar eslos formularios de la code y mas informed& en el Centro de Ayuda de /as Conies de California (www.sucorte.ca.gov) en la
                 biblioteca de !eyes de su condado o en la code que le quede mas cerca. Si no puede pager la cuota de presentacion, pida al secretario de la carte que
                 le dé un formula no de exenden de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso par incumplimiento y la code le podra
                 guitar su sueldo, dinero y Merles sin mas advertencia.
                     Hay otros requisitos legates. Es recomendable que !lame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
                 remisiOn a abogados. Si no puede pager a un abogado, as posible que cumpla con los requisitos pare obtener servicios legates gratuitos de un
                 programa de servicios legates sin fines de ludo. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
                (www.lawhelpcalifomia.org), en el Centro de Ayuda de las Conies de California, (www.sucorte.ca.gov)o poniendose en contacto con la carte o el
                colegio de abogados locales. AVISO: Por ley, la code tiene derecho a rectamar las cuotas y los costos exentos por imponer un gravamen sobre
                cualquier recuperaci& de $100006 mas de valor recibida mediante un acuerdo o una concesien de arbitraje en un caso de derecho civil. Tiene que
                 pager el gravamen de la code antes de que la corte pueda desechar el caso.
                The name and address of the court is:                                                                        CASE NUMBER:(NOmero del Caso):
               (El nombre y direccion de la cone es): Stanley Mosk Courthouse
                1 11 N. Hill Street                                                                                          21 S1— CV 45981
                Los Angeles, CA 90012
                The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nom bra, la direcciOn ye!neimero
                de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
                Gavril T. Gabriel The Law Offices of Gavril T. Gabriel 8255 Firestone Blvd., Suite 209 Downey, CA 90241 (562) 758-8210
                DATE:        12/1612021 '                                                   Clerk, by                                                                   ,Deputy
               (Fecha)                               Sherri R. Carter Executive Officer Clerk of Court
                                                                                            (Secreted())      R. Clifton                                                (Adjunto)
               (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
               (Para prueba de entrega de este citation use el formulario Proof of Service of Summons,(POS-010).)
                                                        NOTICE TO THE PERSON SERVED: You are served
                                                        1.   El as an individual defendant.
                                                       2.    I     as the person sued under the fictitious name of (specify):

                                                       3     IXX   on behalf of(specify):      Garfield Beach CVS LLC dba CVS, a Limited Liability Company
                                                             under:-
                                                                   I 1 CCP 416.10(corporation)                                 ni CCP 416.60 (minor)
                                                                    F-1 CCP 416.20(defunct corporation)         I                 CCP 416.70(conservatee)
                                                                    ET CCP 416.40(association or partnership) I—I                      CCP 416.90 (authorized person)
                                                                    PX1 other (specify): Limited Liability Company
                                                       4.          by personal delivery on (date)                                                                          Papa 1 of 1
                Form Adopted for Mandatory Use
                Judicial Council of California
                                                                                         SUMMONS                                                  Code of Civil Procedure §5412 20, 465
                                                                                                                                                                      www.courts.cagov
                SUM.100 (Rev. July I. 2009)
  Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 3 of 78 Page ID #:14
                                                                                                   Reserved for Clerk's File Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
                                                                                                             FILED
 Stanley Mosk Courthouse                                                                         Supgriint Cduri Or CalifOrilla
                                                                                                   amity Of Los AligOk3S
 1 11 North Hill Street Los Angeles, CA 90012
                                                                                                         12/1612021
                   NOTICE OF CASE ASSIGNMENT                                              MettiR C                   C           eLkaICoioi
                                                                                           lay              R. CliflOn               Oepuly
                        UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   21STCV45981

                          THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNEIYJUDGE                DEPT     ROOM                    ASSIGNED JUDGE                        DEPT         ROOM
   V     David Sotelo                       40




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 12/17/2021                                                         By R. Clifton                                         , Deputy Clerk
              (Date)
LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
   Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 4 of 78 Page ID #:15

                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

 The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
 for your assistance.

 APPLICATION
 The Division 7 Rules were Ofective January 1, 2007. They apply to all general civil cases.

 PRIORITY OVER OTHER RULES
 The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

 CHALLENGE TO ASSIGNED JUDGE
 A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
 to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

 TIME STANDARDS
 Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:
                             5
 COMPLAINTS
 All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

 CROSS-COMPLAINTS
 Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
 complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

 STATUS CONFERENCE,'
 A;.'Sfahis conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
 cOmPlaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
 trial date, and expert witnesses.

 FINAL STATUS'CONFERENCE
 The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
'patiis'eS.'sharll have Motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
 forth *jiii-y instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
 matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
 lists.ofexhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
.bY.Chapter Three of the LosAngeles Superior Court Rules.

 SANCTIONS
 The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
 Court, and time standards oi- deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
 or if appropriate, on counsel,for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.
  • .
Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated coMplex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

 *Provisionally Complex eases
 Cases filed as provisionallji. complex are initially assigned to the Supervising Judge of complex litigation for determination of
 complex status. If the caq is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
 randomly assigned to a coMplex judge at the designated complex courthouse. If the case is found not to be complex, it will be
 returned to an Independent Calendar Courtroom for all purposes.




 LACIV 190(Rev 6/18)        'NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
 LASC Approved 05/06
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 5 of 78 Page ID #:16


                                                                                                   2019-GEN-014-00

                                                                                      FILED
                                                                               Superior Court of California
   1                                                                              County ofLos Angeles

   2                                                                                 MAY 0*:3 2019
                                                                           Devil V.arta,      dive Officer/auk
   3
   4                                                                                   tdamina        tDerd7

   5
                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
   6
                                     FOR THE COUNTY OF LOS ANGELES
   7
   8   IN RE LOS ANGELES
                      SUPERIOR COURT) FIRST AMENDED GENERAL ORDER
       — MANDATORY ELECTRONIC FILING )
   9   FOR CIVIL
  10
  11
  12          On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
  13   documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
  14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
  15   Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
  16   All electroniCally filed documents in Limited and Non-Complex Unlimited cases are subject to the
  17   following:
  18   1) DEFINITIONS
  19      a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to
  20          quickly locate and navigate to a designated point of interest within a document.
  21      b)"Efiling Portal" The official court website includes a webpage, referred to as the efiling
  22          portal, that gives litigants access to the approved Electronic Filing Service Providers.
  23      c) "Electronic Envelope" A transaction through the electronic service provider for submission
  24          ofdocuments to the Court for processing which may contain one or more PDF documents
  25          attached.
  26      d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
  27          docufnent in electronic form.(California Rules of Court, rule 2.250(b)(7).)
  28


                          FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 6 of 78 Page ID #:17


                                                                                                 2019-GEN-014-00



   1    e) "Electronic Filing Service Provider" An Electronic Filing Service Provider(EFSP)is a
   2        person or entity that receives an electronic filing from a party for retransmission to the Court.
   3        In the iubmission of filings, the EFSP does so on behalf of the electronic filer and not as an
   4        agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
   5    0 "Electronic Signature" For purposes of these local rules and in conformity with Code of
   6        Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
   7       (b)(2),Government Code section 68150,subdivision (g), and California Rules of Court, rule
   8        2.257:the term "Electronic Signature" is generally defined as an electronic sound,symbol,or
   9        process attached to or logically associated with an electronic record and executed or adopted
  10        by a person with the intent to sign the electronic record.
  11       "Hypgrlink" An electronic link providing direct access from one distinctively marked place
  12        in a hypertext or hypermedia document to another in the same or different document.
  13     h)"Portable Document Format" A digital document format that preserves all fonts,
  14        fortnattmg, colors and graphics of the original source document,regardless of the application
  15        platform used.

  16 2) MANDATORY ELECTRONIC HUNG
  17    a) Trial Court Records
  18       Pursuant to Government Code section 68150,trial court records may be created, maintained,
  19        and preserved in electronic format. Any document that the Court receives electronically must
  20        be clerically processed and must satisfy all legal filing requirements in order to be filed as an
  21        official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
  22    b) Represented Litigants
  23       Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
  24        electronically file documents with the Court through an approved EFSP.
  25    c) PubliC. Notice
  26       The 0ourt has issued a Public Notice with effective dates the Court required parties to
  27       electimically file documents through one or more approved EFSPs. Public Notices containing
  28        effective dates and the list of EFSPs are available on the Court's website, at www.lacourtorg.

                                                       2
                      FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 7 of 78 Page ID #:18


                                                                                                   2019-GEN-014-00



   I      d) Documents in Related Cases
   2          Docurrients in related cases must be electronically filed in the eFiling portal for that case type if
   3          electronic filing has been implemented in that case type, regardless of whether the case has
   4          been related to a Civil case.
   5   3) EXEMPT LITIGANTS
   6      a) Pursuant to California Rules of Court,rule 2.253(b)(2),self-represented litigants are exempt
   7          from mandatory electronic filing requirements.
   8      b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
   9          Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
  10          from filing documents electronically and be permitted to file documents by conventional
  11          meansIf the party shows undue hardship or significant prejudice.

  12 4) EXEMPT FILINGS
  13      a) The following documents shall not be filed electronically:
  14          i)    Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
  15                Civil Procedure sections 170.6 or 170.3;
  16          ii)   Bonds/Undertaking documents;
  17                Trial and Evidentiary Hearing Exhibits
  18          iv) Any ex parte application that is filed concurrently with a new complaint including those
  19                that will be handled by a Writs and Receivers department in the Mosk courthouse; and
  20          v) Documents submitted conditionally under seal. The actual motion or application shall be
  21                electronically filed. A courtesy copy of the electronically filed motion or application to
  22                Submit documents conditionally under seal must be provided with the documents
  23                submitted conditionally under seal.
  24      b) LodgMents
  25          Docuinents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
  26   paper form. The actual document entitled,"Notice of Lodgment," shall be filed electronically.
  27 II

  28

                                                         3
                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 8 of 78 Page ID #:19


                                                                                                  2019-GEN-014-00



     5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
                  1
   2    Electronicliling service providers must obtain and manage registration information for persons
   3      and entitie-s electronically filing with the court.
   4 6) TECHNICAL REQUIREMENTS
   5      a) Electrgnic documents must be electronically filed in PDF,text searchable format when
   6          technologically feasible without impairment of the document's image.
   7      b) The table of contents for any filing must be bookmarked.
   8      c) ElectrOnic documents,including but not limited to, declarations, proofs of service, and
   9          exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
   10         3.111(1(0(4). Electronic bookmarks must include links to the first page of each bookmarked
   11         item (o.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
   12         bookOrnarked item and briefly describe the item.
   13     d) Attachments to primary documents must be bookmarked. Examples include, but are not
   14                 to, the following:
   15         i)     epositions;
   16         ii)   Peclarations;
   17        iii) Exhibits(including exhibits to declarations);
   18         iv) ..franscripts (including excerpts within transcripts);
  19          v)    Points and Authorities;
  20          vi) Citations; and
  21          vii) Supporting Briefs.
  22      e) Use of hyperlialcs within documents(including attachments and exhibits)is strongly
  23         encouraged.
  24          Accoinpanying Documents
  25         Each fclocument acompanying a single pleading must be electronically filed as a separate
  26         digit41 PDF document.
  27      g) Multi* Documents
  28         Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                         4
                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 9 of 78 Page ID #:20


                                                                                                 2019-GEN-014-00



    1     h) Writs ird Abstracts
    2         Writs ind Abstracts must be submitted as a separate electronic envelope.
                      .;
    3     i) Sealed'Documents
    4        If and when a judicial officer orders documents to be filed under seal, those documents must be
    5        filed eiectronically (unless exempted under paragraph 4); the burden of accurately designating
    6        the documents as sealed at the time of electronic submission is the submitting party's
    7        responsibility.
    8     j) Redaction
    9        Pursunnt to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
   10        redactconfidential information(such as using initials for names of minors,using the last four
   11        digits pf a social security number, and using the year for date of birth)so that the information
                   ;•
   12        shall not be publicly displayed.
   13   7) ELECTRONIC FILING SCHEDULE
   14     a) Filed Date
   15        )
             i Any document received electronically by the court between 12:00 am and 11:59:59 pm
   16            411 be deemed to have been effectively filed on that court day if accepted for filing. Any
   17            document received electronically on a non-court day, is deemed to have been effectively
   18            filed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code
   19            Civ. Proc. § 1010.6(b)(3).)
   20        ii) Notwithstanding any other provision of this order,if a digital document is not filed in due
   21            course because of: (1) an interruption in service;(2)a transmission error that is not the
                                                                                                   N,
   22            fault of the transmitter; or(3)a processing failure that occurs after receiptxthe Coummay
   23            order, either on its own motion or by noticed motion submitted with n,dieclaration for Court_
   24            consideration, that the document be deemed filed and/or that the document's filing date
                  A
   25            conform to the attempted transmission date.
  26 8) EX PARTE APPLICATIONS
   27     a) Ex parte applications and all documents in support thereof must be electronically filed no later
   28        than,i)0:00 a.m. the court day before the ex parte hearing.
                                                            5/
                           FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FI
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 10 of 78 Page ID #:21


                                                                                               2019-GEN-014-430



          b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
   2         day of`the ex pane hearing. A printed courtesy copy of any opposition to an ex parte
    3        application must be provided to the court the day of the ex parte hearing.
   4 9) PRINTED COURTESY COPIES

   5      a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
   6         be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
   7         the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
   8         by 10:90 a.m. the next business day.
   9      b) Regardless of the time of'electronic filing, a printed courtesy copy(along with proofof
   10        electronic submission)is required for the following documents:
   11         )
              i 44ny printed document required pursuant to a Standing or General Order;
   12        ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
   13              pages or more;
   14              Pleadings and motions that include points and authorities;
   15       iv)    Demurrers;
   16        v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
   17        vi)   Motions for Summary Judgment/Adjudication; and
   18       vii)   Motions to Compel Further Discovery.
   19     c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
  20         additional documents. Courtroom specific courtesy copy guidelines can be found at
  21         wwwdacourt.org on the Civil webpage under "Courtroom Information."
  22    0
        )WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
  23      a) Fees and costs associated with electronic filing must be waived for any litigant who has
  24         received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §
  25         101016(d)(2).)
  26      b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
  27         section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be
  28         electronically filed in any authorized action or proceeding.

                                                            6
                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 11 of 78 Page ID #:22


                                                                                                  2019-GEN-014-00



        1)SIGNATURES ON ELECTRONIC FILING
    2      For purposes of this General Order, all electronic filings must be in compliance with California
    3      Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
    4      Division a the Los Angeles County Superior Court.
                    7

    5

    6          This First Amended General Order supersedes any previous order related to electronic filing,
    7   and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
    8   Supervising Judge and/or Presiding Judge.
    9

   10 DATED: May 3,2019
                                                             KEVIN C.BRAZILE
   11
                     ii                                      Presiding Judge
   12
   13
   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25
   26

   27

   28

                                                               7
                          FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 12 of 78 Page ID #:23




                                    VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                       The Early Organizational Meeting Stipulation, Discovery
                                    Resolution Stipulation, and Motions in Limine Stipulation are
     Superior Court of CeStomas     voluntary stipulations entered into by the parties. The parties
     County of Los Angeies
                                    may enter into one, two, or all three of the stipulations;
                                    however, they may not alter the stipulations as written,
       LACBA                        because the Court wants to ensure uniformity of application.
     Los Angeles County
     Bar Association                These stipulations are meant to encourage cooperation
     Litigation Section

     Los Angeles County
                                    between the parties and to assist in resolving issues in a
     Bar Association Lothar and
     Employment Law Section         manner that promotes economic case resolution and judicial
                                    efficiency.
                 g
                 c i 7iir4g:
                           i
                                        The following organizations endorse the goal of
     Consumer Attorneys
     Association of Los Angeles     promoting efficiency in litigation and ask that counsel
                                    consider using these stipulations as a voluntary way to
                                    promote communications and procedures among counsel
                                    and with the court to fairly resolve issues in their cases.

                                    *Los Angeles County Bar Association Litigation Section*
     Southern California
     Defense Counsel
                                             •Los Angeles County Bar Association
     rarasosay2s Mina
                                                  Labor and Employment Law Section*
        "UK171.10. 461.
     Association of
     Business Trial Lawyers            *Consumer Attorneys Association of Los Angeles*


                                             *Southern California Defense Counsel*


                                            *Association of Business Trial Lawyers*
        101111•11.101.411111011•T

     California Employment
     Lawyers Association
                                        *California Employment Lawyers Association*

        LACIV 230(NEW)
        LASC Approved,4-11
        For Optional Use
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 13 of 78 Page ID #:24




   NAME MO ADMEN Of ATTORNEY 014 PAR1Y VATHOIJIATTORJEV:                STATE DARKUIREft            Pearved fa Clat's filo lima



                               r.




            TELEPHONE NO::                                 FAX NO.(Optional):
   E-MAIL ADDRESS(Optional):
      ATTORNEY FOR(Name):
   SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
   COURTHOUSE ADDRESS:

   PLAINTIFF:

   DEFENDANT:

                                                                                           CASE NOMaea:
             STIPULATION — EARLY ORGANIZATIONAL MEETING

         This stipulation is intended to encourage cooperation among the parties at an early stage in
         the litigation and to assist the parties in efficient case resolution.
         The parties agree that:
         1. The partiaa commit to conduct an initial conference (in-person or via teleconference or via
            videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
            whether there can be agreement on the following:
                a. Are rriotions to challenge the pleadings necessary? If the issue can be resolved by
                   amendment as of right, or if the Court would allow leave to amend, could an amended
                   complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                   agree to work through pleading issues so that a demurrer need only raise issues they cannot
                   resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                   would some other type of motion be preferable? Could a voluntary targeted exchange of
                   documents or information by any party cure an uncertainty in the pleadings?
              b. Initial enutual exchanges of documents at the "core" of the litigation. (For example, in an
                 employment case, the employment records, personnel file and documents relating to the
                 cond4t in question could be considered "core." In a personal injury case, an incident or
                 police ;:
                         .'report,
                          .        medical records, and repair or maintenance records could be considered
                 "core.");
              c. Exchange of names and contact information of witnesses;

              d. Any Insurance agreement that may be available to satisfy part or all of a judgment, or to
                 indemnify or reimburse for payments made to satisfy a judgment;

              e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                 or resolution of the case in a manner that preserves objections or privileges by agreement;
             f. Contrql1Ing issues of law that, If resolved early, will promote efficiency and economy in other
                phases of the case. Also, when and how such issues can be presented to the Court;

              g.   Whether or when the case should be scheduled with a settlement officer, what discovery or
                   court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                   and whether the parties wish to use a sitting judge or a private mediator or other options as
        LACIV 229(Rev 02/15)
        LASC Approved 04/11            STIPULATION — EARLY ORGANIZATIONAL MEETING
        For Optional Use 11                                                                                             Page 1 of 2
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 14 of 78 Page ID #:25



      8MORr TiTLE:                                                                  CASE NUMBER




                     discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
                     complaint;
            h. Compilation of damages, including documents, not privileged or protected from disclosure, on
               which such computation is based;
            i. Whether the case Is suitable for the Expedited Jury Trial procedures (see information at
               www.licourt.orq under "Clvr and then under "General Information").
      2.             The tine for a defending party to respond to a complaint or cross-complaint will be extended
                     to                         for the complaint, and                             for the cross-
                              (INSERT DATE)                                   (INSERT DATE)
                     complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                     and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                     been fOund by the Civil Supervising Judge due to the case management benefits provided by
                     this Stipulation. A copy of the General Order can be found at www.lacourtoro under "Civr,
                     click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".
      3.         The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
                 and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                 results;of their meet and confer and advising the Court of any way it may assist the parties'
                 efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                 the Case Management Conference statement, and file the documents when the CMC
                 statement is due.
      4.         References to "days" mean calendar days, unless otherwise noted. If the date for performing
                 any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                 for performing that act shall be extended to the next Court day
      The following parties stipulate:
      Date:

                       (TYPE OR PRINT NAME)                                    (ATTORNEY FOR PLAINTIFF)
      Date:

                       (TYPE OR PRINT NAME)                                  (ATTORNEY FOR DEFENDANT)
      Date:

                      (TYPE OR PRINT NAME)                                   (ATTORNEY FOR DEFENDANT)
      Date:

                      (TYPE OR PRINT NAME)                                   (ATTORNEY FOR DEFENDANT)
      Date:

                      (TYPE OR PRINT NAME)                              (ATTORNEY FOR
      Date:              fv

                      (TrE OR PRINT NAME)                               (ATTORNEY FOR
      Date:

                       (TYPE OR PRINT NAME)                             {ATTORNEY FOR

                          5
      LACIV 229(Rev 02/15)
      LASC Approved 01/11         STIPULATION — EARLY ORGANIZATIONAL MEETING                              Page 2 of 2
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 15 of 78 Page ID #:26



   NAME AND ADDRESS OF ATTORNEY Oil PARTY WITHOUT ATTORNEY.                STATE EAR NUMBER            Ras.rwd toe aides Filo SUMO




            TELEPHONE NOT!                                    FAX NO.(Optional):
   E-MAIL ADDRESS(Option*:
      ATTORNEY FOR(Name):
   SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
   COURTHOUSE ADDRESS: I

   PLAINTIFF:

   DEFENDANT:

                                                                                              CASE NUMBER:
                       STIPULATION — DISCOVERY RESOLUTION

         This stipulation is intended to provide a fast and informal resolution of discovery issues
         through limited paperwork and an informal conference with the Court to aid in the
         resolution of4the issues.

         The parties apree that:

         1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
            the movin6 party first makes a written request for an Informal Discovery Conference pursuant
            to the terns of this stipulation.
                               :
                               F


         2. At the Infoimal Discovery Conference the Court will consider the dispute presented by parties
            and determine whether it can be resolved informally. Nothing set forth herein will preclude a
            party fromi making a record at the conclusion of an Informal Discovery Conference, either
            orally or in writing.

         3. Following A reasonable and good faith attempt at an informal resolution of each issue to be
            presented, a party may request an Informal Discovery Conference pursuant to the following
            procedures:

                     a. The party requesting the Informal Discovery Conference will:

                         i. Pile a Request for Informal Discovery Conference with the clerk's office on the
                            :iapproved form (copy attached) and deliver a courtesy, conformed copy to the
                             ;!assigned department;
                              f.
                        ii. •iInclude a brief summary of the dispute and specify the relief requested; and

                       iii.    ;t Serve the opposing party pursuant to any authorized or agreed method of service
                                  that ensures that the opposing party receives the Request for Informal Discovery
                              '.Conference no later than the next court day following the filing.

                    b. Any Answer to a Request for Informal Discovery Conference must:

                        I       Also be filed on the approved form (copy attached);

                                Include a brief summary of why the requested relief should be denied;
        LAC1V 036(new)
        LASC Approved 0411                       STIPULATION — DISCOVERY RESOLUTION
        For Optional Use                                                                                                  Page 1 of 3
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 16 of 78 Page ID #:27



      SHOAT TITIE.                                                                CASE tAJMEIR:




                           Be filed within two(2)court days of receipt of the Request; and
                     iv.   Be served on the opposing party pursuant to any authorized or agreed upon
                           method of service that ensures that the opposing party receives the Answer no
                           later than the next court day following the filing.

           c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
              be accepted.

           d. If the Court has not granted or denied the Request for Informal Discovery Conference
              within ten (10) days following the filing of the Request, then it shall be deemed to have
              been denied. If the Court acts on the Request, the parties will be notified whether the
              Request for Informal Discovery Conference has been granted or denied and, if granted,
              the date and time of the Informal Discovery Conference, which must be within twenty (20)
              days of the filing of the Request for Informal Discovery Conference.

           e. If the conference is not held within twenty (20) days of the filing of the Request for
              Informal Discovery Conference, unless extended by agreement of the parties and the
              Court, tthen the Request for the Informal Discovery Conference shall be deemed to have
              been denied at that time.

      4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
         without the Court having acted or (c) the Informal Discovery Conference is concluded without
         resolving the dispute, then a party may file a discovery motion to address unresolved issues.

     5. The parties hereby further agree that the time for making a motion to compel or other
        discovery ;.motion is tolled from the date of filing of the Request for Informal Discovery
        Conference until (a)the request is denied or deemed denied or (b) twenty (20) days after the
        filing of thp Request for Informal Discovery Conference, whichever is earlier, unless extended
        by Order Cif the Court.

           It is the ur,Iderstanding and intent of the parties that this stipulation shall, for each discovery
           dispute to: which it applies, constitute a writing memorializing a "specific later date to which
           the propounding [or demanding or requesting] party and the responding party have agreed in
           writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
           2033.290(c).

     6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
        an order shortening time for a motion to be heard concerning discovery.

     7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
        terminate the stipulation.

     8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
        any act pirrsuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
        for perforMing that act shall be extended to the next Court day.



     LACIV 036(new) f
     LASC Approved 01111            STIPULATION — DISCOVERY RESOLUTION
     For OpUonal Use                                                                                 Page 2 of3
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 17 of 78 Page ID #:28



      SHORT TIT1.E1                                                    eAseptuueut




      The following': parties stipulate:

      Date:
                      ((PE OR PRINT NAME)                           (ATTORNEY FOR PLAINTIFF)
      Date:             f

                      (TyPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
      Date:
                      (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
      Date:
                      (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEPENDANT)
      Date:
                      (TYPE OR PRINT NAME)                  (ATTORNEY FOR
      Date:
                      (TyPE OR PRINT NAME)                  (ATTORNEY FOR
      Date:
                      (TYPE OR PRINT NAME)                  (ATTORNEY FOR




      LACIV 036(new) I
      LASC Approved 04/11           STIPULATION — DISCOVERY RESOLUTION
      For Optional Use                                                                         Page 3 ot 3
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 18 of 78 Page ID #:29




   RARE Ai O ADORERS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE AR NUMSER                    Relined tor ClriOy FIA Bump




             TELEPHONE NO::                                   FAX NO.(Optional):
    E-MAIL ADDRESS(Optima*
       ATTORNEY FOR (Name):
   SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
   COURTHOUSE ADDRESS:

   PLAINTIFF:

   DEFENDANT:

                                                                                                     CASE NuMBER:
                       INFORMAL DISCOVERY CONFERENCE
                 (pursuantIo the Discovery Resolution Stipulation of the parties)
         1. This document relates to:
                      :Request for Informal Discovery Conference
               111     Answer to Request for Informal Discovery Conference
         2. Deadline fCir Court to decide on Request:                   (Insert date 10 calendar days following filing of
                the Request). ,
         3. Deadline for Court to hold Informal Discovery Conference:                                           (Insert date 20 calendar
                days following:filing of the Request).
         4. For a Request for informal Discovery Conference, briefly describe the nature of the
            discovery; dispute, including the facts and legal arguments at issue. For an Answer to
            Request for Informal Discovery Conference, briefly describe why the Court should deny
            the reque4ted discovery, including the facts and legal arguments at issue.




        LACIV 094(new)
        LASC Approved 04/11
                                                INFORMAL DISCOVERY CONFERENCE
        For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties)
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 19 of 78 Page ID #:30




   NAME AND AOOME88 OF ATTORNEY OR PARTY WNW!ATTORNEY:                5YATE am tonieve            Oniony,tot ClotWo Filo &Moo




           TELEPHONE NO.:                                FAX NO.(Optional):
   &MAIL ADDRESS(Optional):
     ATTORNEY FOR 1Hsune):
   SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
   COURTHOUSE ADDRESS: ;

   PLAINTIFF:

   DEFENDANT:
                             A

                                                                                         CASE NUMBER:

                 STIPULATION AND ORDER — MOTIONS IN LIMINE


        This stipulation is intended to provide fast and informal resolution of evidentiary
        issues through diligent efforts to define and discuss such issues and limit paperwork.
                            :t

        The parties agree that:
         1. At least ".    days before the final status conference, each party will provide all other
            parties with a list containing a one paragraph explanation of each proposed motion in
            limine. Edch one paragraph explanation must identify the substance of a single proposed
            motion in:limine and the grounds for the proposed motion.
        2. The parties thereafter will meet and confer, either in person or via teleconference or
           videoconference, concerning all proposed motions in limine. In that meet and confer, the
           parties will determine:
                a. Whetter the parties can stipulate to any of the proposed motions. If the parties so
                   stipulate, they may file a stipulation and proposed order with the Court.
              b. Whether any of the proposed motions can be briefed and submitted by means of a
                 short joint statement of issues. For each motion which can be addressed by a short
                 joint statement of issues, a short joint statement of issues must be filed with the Court
                 10 days prior to the final status conference. Each side's portion of the short joint
                 statement of issues may not exceed three pages. The parties will meet and confer to
                 agree on a date and manner for exchanging the parties' respective portions of the
                 short joint statement of issues and the process for filing the short joint statement of
                 issued.
        3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
           a short joint statement of issues will be briefed and filed in accordance with the California
           Rules of Court and the Los Angeles Superior Court Rules.



        LACIV 075(new)
        LASC Approved 04/11            STIPULATION AND ORDER — MOTIONS IN L1MINE
        For Optional Use •                                                                                           Page 1 of2
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 20 of 78 Page ID #:31



      *WORT TITLE:                                                 CASE IEJSISER:

                         ;•3




      The following parties stipulate:
      Date:

                     (TYRE OR PRINT NAME)                      (ATTORNEY FOR PLAINTIFF)
      Date:

                     (TYRE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
      Date:

                     (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
      Date:              7

                     (TYRE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
                        4;
      Date:

                     (TYPE OR PRINT NAME)                (ATTORNEY FOR
      Date:
                        ;-;
                     (TYRE OR PRINT NAME)                 (ATTORNEY FOR
      Date:

                     (TYPE OR PRINT NAME)                (ATTORNEY FOR



      THE COURT.
               ;SO ORDERS.

        Date:
                                                                    JUDICIAL OFFICER




     LAC1V 075(new)
     LASC Approved 0411        STIPULATION AND ORDER — MOTIONS IN UMINE                Page 2 of 2
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 21 of 78 Page ID #:32




     1

     2
                                                                             FILED
                                                                      LOS ANGELES SUPERIOR
                                                                                               COURT
     3                                                                          MAY 1 1 2011
     4                                                                       J
                                                                              OHNfrCIARKEi,ERK
                                                                        BY
     5                                                                       NAhaVARRO.DEPUTY

     6

     7                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                 FOR THE COUNTY OF LOS ANGELES
     9
         General Order Re                           )   ORDER PURSUANT TO CCP 1054(a),
    10
         Use of Voluntary Efficient Litigation      )   EXTENDING TIME TO RESPOND BY
    II   Stipulations                               )   30 DAYS WHEN PARTIES AGREE
                                                    )   TO EARLY ORGANIZATIONAL
    12                                              )   MEETING STIPULATION
    13

    14
                Whereas the Los Angeles Superior Court and the Executive Committee of the
    15
         Litigation Section of the Los Angeles County Bar Association have cooperated in
    16

    17
         drafting 'Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

   (8    use In general Jurisdiction civil litigation In Los Angeles County;
    19          Whereas the Los Angeles County Bar Association Litigation Section; the Los
    20
         Angeles County Bar Association Labor and Employment Law Section; the Consumer
    21
         Attorneys Association of Los Angeles; the Association of Southern California Defense
    22

    23   Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

    24   Employment Lawyers Association all "endorse the goal of promoting efficiency in
    25
         litigation, a'nd ask that counsel consider using these stipulations as a voluntary way to
    26
         promote ciimmunications and procedures among counsel and with the court to fairly
    27
         resolve issues In their cases;
    28

                                                     -1-
                                   ORDER PURSUANT TO CCP 1054(a)
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 22 of 78 Page ID #:33




                Whereas the Early Organizational Meeting Stipulation is intended to encourage
     1

     2   cooperation among the parties at an early stage in litigation in order to achieve
     3   litigation efficiencies;
     4
                Whereas it is intended that use of the Early Organizational Meeting Stipulation
     5
         will promote economic case resolution and Judicial efficiency;
     6

     7
                Whereas, in order to promote a meaningful discussion of pleading issues at the

     8 Early Organizational Meeting and potentially to reduce the need for motions to
     9   challenge the pleadings, it Is necessary to allow additional time to conduct the Early
    10
         Organizational Meeting before the time to respond to a complaint or cross complaint
    11
         has expired;
    12

    13          Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

    14   which an aCtion is pending to extend for not more than 30 days the time to respond to
    15
         a pleading'rupon good cause shown";
    16
                Now,therefore, this Court hereby finds that there Is good cause to extend for 30
    17
         days the tithe to respond to a complaint or to a cross complaint in any action in which
    18

    19   the parties have entered into the Early Organizational Meeting Stipulation. This finding
    20   of good ca6se is based on the anticipated judicial efficiency and benefits of economic
    21
         case resoldtion that the Early Organizational Meeting Stipulation Is intended to
    22
         promote.
    23

    24
                IT IS HEREBY ORDERED that, In any case In which the parties have entered

    25   into an Early Organizational Meeting Stipulation, the time for a defending party to
    26   respond to,e complaint or cross complaint shall be extended by the 30 days permitted
    27

    28

                                                    -2-

                                    ORDER PURSUANT TO CCP 1054(a)
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 23 of 78 Page ID #:34




         by Code of,Civil Procedure section 1054(a)without further need of a specific court

     2   order.

     3

     4

     5

     6
         DATED:                                    a
                                                 Carolyn B. KuhljSupervising Judge ofthe
                                                 Civil Departments, Los Angeles Superior Court

     7

     8

     9

    10

    II

    12

    13

    14

    15

    16

    17

    Is

    19

    20

    21

    22

    23

   24

   25

   26

   27

   28

                                                  -3-

                                 ORDER PURSUANT TO CCP 1054(a)
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 24 of 78 Page ID #:35



                     Superior Court of California, County of Los Angeles


                          ALTERNATIVE 121
                                       1 6
                                         .1Alid
                                           1    RESOLUTION
                                 INFORMATION
   THEPLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

   CROSS-COMPIAINANTS must serve this ADR Information Package on any new parties named to the action
   with the cross-complaint.




  What Is
  ADR helps people KO solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
  mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
  be called Online Dispute Resolution (ODR).These alternatives to litigation and trial are described below.

  Advantages of ADR
     • Saves Time: ADR Is faster than going to trial.
     • Saves Money; . Parties can save on court costs, attorney's fees, and witness fees.
     • Keeps Control(with the parties): Parties choose their ADR process and provider for voluntary ADR.
     • Reduces Stress/Protects Privacy: ADR is done outside the courtroom,in private offices, by phone or online.

  Disadvantages of ADR
     • Costs: If the Orties do not resolve their dispute, they may have to pay for ADR,litigation, and trial.
     • No Public Try: ADR does not provide a public trial or a decision by a judge or Jury.

  Main Types of ADR
     1. Negotiation: Parties often talk with each other In person,or by phone or online about resolving their case with a
        settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

     2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
        strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
        acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                  Mediation may be appropriate when the parties
                    • want to work out a solution but need help from a neutral person.
                    • have communication problems or strong emotions that interfere with resolution.
                  Mediation may not be appropriate when the parties
                    • want a public trial and want a judge or Jury to decide the outcome.
                    • lack equal bargaining power or have a history of physical/emotional abuse.



     LASC CIV 271 Rev.04/21
     For Mandatory Use
                                                                                                                Page 101 2
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 25 of 78 Page ID #:36




                                    How to Arrange Mediation in Los Angeles County

          Mediation forçMl cases is voluntary and parties may select any mediator they wish. Options include:

              a. The Civil Mediation Vendor Resource List
                 If all partiesin an active civil case agree to mediation, they may contact these organizations
                 to request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
                 cases).

                     •.; ADR Services,Inc.Case Manager Elizabeth Sanchez,eliza beth@ a drservices.com
                        (949)863-9800
                     • JAMS,Inc. Assistant Manager Reggie Joseph, RJoseph@iamsadr.com (310)309-6209
                     • Mediation Center of Los Angeles Program Manager info@mediationLA.org
                        (833)476-9145

         These organizations cannot accept every case and they may decline cases at their discretion. They may
         offer online Mediation by video conference for cases they accept. Before contacting these organizations,
         review import'ant information and FAQs at www.lacourt.org/ADR.Res.List

         NOTE:The CIA Mediation Vendor Resource List program does not accept family law, probate or small
         claims cases.

              b. Los Angeles County Dispute Resolution Programs
                 https://hrciacountv.goviwo-content/uploads/2020/0S/DRP-Fact-Sheet-230ctober19-Current-as-of•October-2019-1.pdf

                  Day of trial mediation programs have been paused until further notice.

                  Online Dispute Resolution(00R). Parties in small claims and unlawful detainer(eviction) cases
                  should carefully review the Notice and other information they may receive about(00R)
                  requirements for their case.

              c. Mediators and ADR and Bar organizationsthat provide mediation may be found on the Internet.

         3. Arbitration Arbitration is less formal than trial, but like trial, the parties present evidence and
         arguments to the person who decides the outcome. In "binding" arbitration,the arbitrator's
         decision is final; there is no rightto trial. In "nonbinding"arbitration,any party can request a
         trial aftert4 arbItratoesdecision. For more information about arbitration, visit
         http://www.cburts.ca.gov/programs-adr.htm

         4. Mandatory SettlementConferences(MSC): MSCs are ordered by the Court and are often held close
         to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
         officer who does not make a decision but who instead assists the parties in evaluating the strengths and
         weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
         programs for'civil cases, visit http://www.lacourt.org/divisionkivii/C10047.aspx

         Los Angeles Superior Court ADR website: http://www.lacourtorg/divisionicivil/C10109.aspx
         For general Information and videos about ADR,visit http://www.courts.ca.gov/progra ms-a dr.htm

                       •
   LASC CIV 271 Rev.041.21
   For Mandatory Use                                                                                          Page 2 of2
ElectronicallyCase
              FILED by2:22-cv-00402-DSF-AGR                            Document
                      Superior Court of CalifOrnia, County of Los Angeles               1-1 Filed
                                                                          on 12/16/20i)gwigaTrri     01/19/22
                                                                                                 R. Carter,              Page of26
                                                                                                            Executive Officer/Clerk    ofby78
                                                                                                                                    Court,        Page ID
                                                                                                                                            R. Clifton,Deputy Clerk#:37


                                                                                                                                                                            CM-010
                  ATTORNEY OR PARTY W1THOUf ATTORNEY (Name, Stare Bar number, and address):                                                 FOR COURT USE ONLY
                — Gavril T. Gabriel 12964331
                  The Law Offices of GiwrilT. Gabriel
                 8255 Firestone Blvd.,'.Suite 209 Downey,CA 90241

                          TELEPHONE NO.: (562)          758-8210               FAX NO   (562)758-8219
                   ATTORNEY FOR (Name):
                SUPERIOR COURT OF CALIFORNIA, COUNTY OF        Los Angeles
                       STREET ADDRESS:   1 1 1:,N, Hill Street
                       MAILING ADDRESS Same as Above
                      CITY AND ZIP CODE: Los Angeles 90012

                          BRANCH NAME: Stanley Mask Courthouse
                   CASE NAME:
                   Jaqueline Ponce v,fGarfield Beach CVS LLC
                                                                                                                          CASE NUMBER:
                     CIVIL CASE COVER SHEET                Complex Case Designation
                       Unlimited   1-7 Limited                                                                            2-1ST CV 45981
                      (Amount        , (Amount          C] Counter F7 Joinder
                                                                                                                           JUDGE:
                          demanded                    demanded is           Filed with first appearance by defendant
                          exceeds $25,000)            $25,000 or less)          (Cal. Rules of Court, rule 3.402)             DEPT:

                                                         Items 1-6 below must be completed(see instructions on page 2).
                1, Check one box below for the case type that best describes this case:
                   Auto Tort                                             Contract                                    Provisionally Complex Civil Litigation
                             Auto (22)                                   El Breach of contract/warranty (06) (Cal. Rules of Court, rules 3.400-3.403)
                   n Uninsured motorist(46)                              El Rule 3.740 collections(09)             El      Antitrust/Trade regulation (03)
                   Other PUPD/WD (Perscifhal Injury/Property                     Other collections (09)            El      Construction defect (10)
                   Damage/Wrongful Death) Tort                           Ell Insurance coverage (18)                {:=] Mass tort(40)
                    F7       Asbestos(04)                                El Other contract(37)                     El      Securities litigation (28)
                    F7       Product liability (24)                      Real Properly                               El Environmental/Toxic tort(30)
                    Fl       M• edical malpracti:Ce (45)                  El     Eminent domain/Inverse            El      Insurance coverage claims arising from the
                             Other PI/PD/WD (23)                                 condemnation (14)                         above listed provisionally complex case
                   Non-PI/PO/WD (Other);Tort                              r7     Wrongful eviction (33)                    types (41)

                             Business tort/unfair business practice (07)         Other real property (26)            Enforcement   of Judgment
                    F7 civil       rights(08)                            Unlawful   Detainer                       F7      Enforcement   of judgment(20)
                           Defamation (13)                               El Commercial(31)                           Miscellaneous Civil Complaint
                           Fraud (16)                                    ID Residential (32)                       El      RICO (27)
                    El     Intellectual properly (19)                    El Drugs(38)                               El Other complaint (not specified above)(42)
                         Professional negligence (25)                    J udicial Review                            Miscellaneous Civil Petition
                           O• ther non-PI/PD/WD tort(35)                  El     Asset forfeiture(05)
                                                                                                                    11=1 Partnership and corporate governance (21)
                   Employment                                             El    Petition re: arbitration award (11) 1-1 Other petition (not specified above)(43)
                           VVrongful termination (36)                            Writ of mandate (02)
                   ri    O• ther employment(15)                           El    Other judicial review (39)
               2. This case 1             1 is I /I is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                   factors requiring exceptional judicial management:
                    a.    1 -1     L• arge numbtr of separately represented parties           d.11 Large number of witnesses
                     b.            Extensive motion practice raising difficult or novel       e. 1:=1 Coordination with related actions pending in one or more courts
                                 issues that ‘kill be time-consuming to resolve                       in other counties, states, or countries, or in a federal court
                    c.    ni     S• ubstantial amount of documentary evidence                 f. n Substantial postjudgment judicial supervision
              3.    Remedies sought (ctiack all that apply): ari_ monetary 0       -1 nonmonetary; declaratory or injunctive relief                            c.[=I punitive
              4.    Number of causes &faction (specify): Sixteen (16)
              5.    This case ni is                     F7
                                                is not a class action suit.
              6.    If there are any known related cases, file and serve a notice of related case.(You            CM-015.)
              Date: December/6,2021
              Gavril T. Gabriel -:
                                                  (TYPE OR PRINT NAME)                                                  RE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                     NOTICE
                • Plaintiff Must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                  under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
                  in sanctions.
                • File this cover sheet ih addition to any cover sheet required by local court rule.
                • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                  other parties to the action or proceeding.
                • Unless this is a collections Case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                           Page 1012
               Form Adopted lot Mandatory Use                                                                               Cal. Rules of Court, rules 2.30, 3.220,3.400-3.403, 3.740;
                 Judicial Council of California     T                    CIVIL CASE COVER SHEET                                     Cal. Standards of Judicial Administration, std. 3.10
                 CM-010[Rev. July 1, 20071                                                                                                                        www.courtinre.ca.gov
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 27 of 78 Page ID #:38

                                                                                                                                              CM-010
                                           INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
   To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
   complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
   statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
   one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
   check the more specific:one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
   To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
   sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
   its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
  To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
  owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
   which property, services; or money was acquired on credit. A collections case does not include an action seeking the following:(1) tort
   damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
  attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
  time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
  case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
   To Parties in Complex:Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
   case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
   completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
  complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
   plaintiffs designation, a Counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
  the case is complex.
                                                               CASE TYPES AND EXAMPLES
  Auto Tort                                         Contract                                          Provisionally Complex Civil Litigation (Cal.
        Auto (22)-Personal Injury/Property               Breach of Contract/Warranty (06)             Rules of Court Rules 3.400-3.403)
              Damage/Wrongful Death                          Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
        Uninsured Motorist(46)(if the                             Contract (not unlawful detainer           Construction Defect(10)
             case involves an uninsured                               or wrongful eviction)                 Claims Involving Mass Tort(40)
              motorist claim subject to                      Contract/Warranty Breach-Seller                Securities Litigation (28)
             arbitration, check this item                         Plaintiff(not fraud or negligence)        Environmental/Toxic Tort(30)
             instead of Auto)                                Negligent Breach of Contract/                  Insurance Coverage Claims
  Other Pl/PDNVD (Personal'Injury/                                Warranty                                     (arising from provisionally complex
  Property Damage/Wrongful Death)                            Other Breach of ContractNVarranty                  case type listed above)(41)
  Tort                                                  Collections (e.g., money owed, open             Enforcement of Judgment
        Asbestos (04)                                        book accounts)(09)                             Enforcement of Judgment(20)
            Asbestos Property pamage                         Collection Case-Seller Plaintiff                   Abstract of Judgment(Out of
            Asbestos Personal Injury/                        Other Promissory Note/Collections                        County)
                  Wrongful Death                                  Case                                          Confession    of Judgment(non-
        Product Liability (not asbestos or              Insurance Coverage(not provisionally                          domestic relations)
             toxic/environmental)(24)                        complex)(18)                                       Sister State Judgment
        Medical Malpractice(45)                              Auto Subrogation                                   Administrative Agency Award
            Medical Malpractice-                             Other Coverage                                       (not unpaid taxes)
                  Physicians & Surgeons                 Other Contract(37)                                      Petition/Certification of Entry of
            Other Professional Health Care                   Contractual Fraud                                      Judgment on Unpaid Taxes
                  Malpractice .'                             Other Contract Dispute                             Other Enforcement of Judgment
                                                    Real Property                                                     Case
        Other Pl/PD/VVD (23)
            Premises Liability (e.g., slip              Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                  and fall)      ,                           Condemnation (14)                              RICO (27)
            Intentional Bodily Injury/PD/WD             Wrongful Eviction (33)                              Other Complaint (not specified
                 (e.g., assault, vandalism)                                                                     above)(42)
                                                        Other Real Property (e.g., quiet title)(26)
            Intentional Infliction of                                                                           Declaratory Relief Only
                                                             Writ of Possession of Real Property                Injunctive Relief Only (non-
                  Emotional Distress                         Mortgage Foreclosure
            Negligent Infliction of                                                                                  harassment)
                                                             Quiet Title                                        Mechanics Lien
                  Emotional Distress                         Other Real Properly (not eminent
            Other Pl/PDNVD "     4t                                                                             Other Commercial Complaint
                                                            domain, landlordnenant, or
                                                            foreclosure)                                             Case (non-tort/non-complex)
  Non-PI/PD/WD (Other) Tort                                                                                     Other Civil Complaint
       Business Tort/Unfair Business                Unlawful Detainer                                              (non-tort/non-complex)
           Practice (07)                                Commercial(31)
                                                                                                       Miscellaneous Civil Petition
       Civil Rights (e.g., discriMination,              Residential (32)                                   Partnership and Corporate
           false arrest)(not civil                      Drugs (38)(if the case involves illegal                 Governance (21)
            harassment)(08) ,-                              drugs, check this item; otherwise,             Other Petition (not specified
       Defamation (e.g., slander, libel)                    report as Commercial or Residential)                above)(43)
            (13)                                   J udicial Review                                             Civil Harassment
       Fraud   (16)                                     Asset Forfeiture (05)                                   Workplace Violence
       Intellectual Property (19)                       Petition Re:  Arbitration Award (11)                    Elder/Dependent Adult
       Professional Negligence (25)                     Writ of Mandate (02)                                         Abuse
           Legal Malpractice 7                              Writ-Administrative Mandamus                        Election Contest
           Other Professional Malpractice                   Writ-Mandamus on Limited Court                      Petition for Name Change
               (not medical or legal)                           Case Matter                                    Petition for Relief From Late
        Other Non-Pl/PD/WD Tort(35)                         VVrit-Other Limited Court Case                           Claim
  Employment                                                    Review                                         Other Civil Petition
       Wrongful Termination (36)                        Other Judicial Review (39)
       Other Employment (15),                               Review of Health Officer Order
                                                            Notice of Appeal-Labor
                                                                Commissioner Appeals
 CM-010!Rev. July I. 20071                                                                                                                Page 2 of 2
                                                       CIVIL CASE COVER SHEET
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 28 of 78 Page ID #:39


  SHORT TITLE: Jaqueline                                                                              CASE NUMBER
                             Ponce v. Garfield Beach CVS LLC et al.



                              CIVIL CASE COVER SHEET ADDENDUM AND
                                      STATEMENT OF LOCATION
               (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
               This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




       Step 1: After comPleting the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
               Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

      Step 2: In Column,B, check the box for the type of action that best describes the nature of the case.

     Step 3: In Columnt, circle the number which explains the reason for the court filing location you have
             chosen.
                                            Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.      7. Location where petitioner resides.
2. Permissive filing in central district.                                             8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                              9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                               10. Location of Labor Commissioner Office.
                                                                                     11. Mandatory filing location (Hub Cases — unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                     non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.
                                  1




                                 A                                                          B                                                       C
                     Civil Case Cover Sheet                                         Type of Action                                       Applicable Reasons -
                           Category No.                                            (Chedk only one)                                       See Step 3 Above

                             Auto(22)              0 A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                1,4,11
   0
        o
   <                 Uninsured Motorist(46)        0 A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motcrist           1, 4, 11


                               ,                   0 A6070 Asbestos Property Damage                                                     1, 11
                          Asbestos(04)
                                                   0 A7221 Asbestos - Personal Injury/Wrongful Death                                    1.11

                      Product Liability
                                .
                                ,
                                        (24)       0 A7260 Product Liability (not asbestos or toxic/environmental)                      1, 4, 11

                                                   0 A7210 Medical Malpractice - Physicians & Surgeons                                  1, 4,11
                    Medical Malpractice(45)                                                                                             1, 4, 11
                                                   0 A7240 Other Professional Health Care Malpractice
                                 %
                                                   0 A7250 Premises Liability (e.g.. slip and fall)
                                                                                                                                        1, 4, 11
                         Other Personal
                         Injury Property           0 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                        1, 4, 1 1
                        Damage Wrongful                    assault, vandalism, etc.)
                           Death (23)                                                                                                   1, 4, 11
                                 •:,               0 A7270 Intentional Infliction of Emotional Distress
                                                                                                                                        1, 4, 1 1
                                 1                 0 A7220 Other Personal Injury/Property Damage/Wrongful Death




  LASC CIV 109 Rev. 12/18
                                                  CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.3

  For Mandatory Use
                                                     AND STATEMENT OF LOCATION                                                          Page 1 0f4
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 29 of 78 Page ID #:40


 SNORT TITLE:                                                                                           CASE NUMBER
                        Jaqueline Pone v. Garfield Beach CVS LLC et at.


                                      A                                                         B                                           C Applicable
                            Civil Case Cover Sheet                                       Type of Action                                  Reasons - See Step 3
                                  Category No.                                          (Check only one)                                       Above

                              Business Tort(07)          0 A6029 Other Commercial/Business Tort (not fraud/breach of contract)           1, 2, 3
                                       ...
                                      ,
                               Civil Rights(08)          0 A6005 Civil Rights/Discrimination                                            1, 2, 3
                                     1
                               Defamation (13)           0 A6010 Defamation (slander/libel)                                             1,2. 3
                                     s.i

                                  Fraud (16)             0 A6013 Fraud (no contract)                                                    1, 2, 3

                                       -                 0 A6017 Legal Malpractice                                                      1, 2, 3
                         Professional Negligence(25)
                                                         0 A6050 Other Professional Malpractice (not medical or legal)                  1, 2, 3

                                  Other (35)             0 A6025 Other Non-Personal Injury/Properly Damage tort                         1, 2, 3

                          Wrongful TeiMination (36)      0 A6037 Wrongful Termination                                                   1, 2, 3

                                     :
                                     4                   0 A6024 Other Employment Complaint Case                                        1, 2, 3
                           Other Employment(15)
                                                         0 A6109 Labor Commissioner Appeals                                             10

                                       r                 0 A6004 Breach of Rental/Lease Contract(not unlawful detainer or wrongful
                                                                 eviction)                                                              2, 5
                         Breach of Contract/ Warranty                                                                                   2, 5
                                                         0 A6008 Contract/Warranty Breach -Seller Plaintiff(no fraud/negligence)
                                    (0,6)
                              (not insurance)                                                                                           1,2. 5
                                      .
                                      i                  0 A6019 Negligent Breach of Contract/Warranty(no fraud)
                                                                                                                                        1, 2, 5
                                                         0 A6028 Other Breach of Contract/Warranty(not fraud or negligence)
                                       i.
                                      :-.                0 A6002 Collections Case-Seller Plaintiff                                      5,6, 11
                               Collectiims(09)
      0                                                  0 A6012 Other Promissory Note/Collections Case                                 5,11
                                                         0 A6034 Collections Case-Purchased Debt(Charged Off Consumer Debt              5, 6, 11
                                                                 Purchased on or after January 1, 2014)
                           Insurance Coverage (18)       0 A6015 Insurance Coverage (not complex)                                       1, 2, 5, 8

                                                        0 A6009 Contractual Fraud                                                       1,2, 3, 5
                             Other Contract(37)         0 A6031 Tortious Interference                                                   1, 2, 3, 5
                                                        0 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)           1, 2, 3, 8,9

                           Eminent Domain/Inverse
                                                        0 A7300 Eminent Domain/Condemnation                Number of parcels            2,6
                             Condemnation (14)

                            Wrongful Eviction (33)      0 A6023 Wrongful Eviction Case                                                  2,6
                                      ,
                                                        0 A6018 Mortgage Foreclosure                                                   2,6
                          Other Real Property (26)      0 A6032 Quiet Title                                                            2,6
                                       i                0 A6060 Other Real Property (not eminent domain, landlord/tenant,foreclosue)   2,6
                                      .i
                        Unlawful Detaine)r-Commercial
                                                      0 A6021 Unlawful Detainer-Commercial(not drugs or wrongful eviction)             6, 11
                                    (31
    Unlawful Detainer




                                      .
                                      ,
                        Unlawful Detainer-Residential
                                                      0 A6020 Unlawful Detainer-Residential(not drugs or wrongful eviction)            6, 11
                                    (32)
                            Unlawful 12ietainer-
                                                        0 A6020F Unlawful Detainer-Post-Foreclosure                                    2,6, 11
                           Post-Foreclosure(34)
                        Unlawful Detainer-Drugs(38)     0 A6022 Unlawful Detainer-Drugs                                                2,6, 11
                                      „


                                                        CIVIL CASE COVER SHEET ADDENDUM                                              Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                           AND STATEMENT OF LOCATION                                                   Page 2 of 4
 For Mandatory Use
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 30 of 78 Page ID #:41


 SHORT TITLE'                              Jaqueline Pone v. Garfield Beach CVS LLC et at.                                    CASE NUMBER




                                                          A                                                         B                                    C Applicable
                                               Civil Case Cover Sheet                                         Type of Action                          Reasons - See Step 3
                                                     Catedpry No.                                            (Check only one)                               Above

                                                Asset Forfeiture (05)        0 A6108, Asset Forfeiture Case                                         2, 3, 6

                                              Petition re gbitration (11)    0 A6115 Petition to Compel/ConfirrnNacate Arbitration                  2,5
             Judicial Review




                                                           ;
                                                          .                  0 A6151 Writ - Administrative Mandamus                                 2,8
                                                Writ of Mandate(02)          0 A6152 Writ - Mandamus on Limited Court Case Matter                  2
                                                          ,                  0 A6153 Writ - Other Limited Court Case Review                        2

                                             Other Judicial Review(39)       0 A6150 Other Writ /Judicial Review                                   2,8

                                           Antitrust/Trade,Regulation (03) 0 A6003 Antitrust/Trade Regulation                                       1, 2,8
        Provisionally Complex Litigation




                                              Construction Defect(10)        0 A6007 Construction Defect                                           1,2, 3

                                             Claims Involving Mass Tort
                                                        (40)                 0 A6006 Claims Involving Mass Tort                                    1, 2, 8
                                                           ,-
                                              Securities Liiigation (28)     0 A6035 Securities Litigation Case                                    1, 2, 8

                                                     Toxi6 Tort
                                                                             0 A6036 Toxic Tort/Environmental                                      1, 2, 3,8
                                                 Environmental(30)

                                            Insurance Cmierage Claims
                                                                             0 A6014 Insurance Coverage/Subrogation(complex case only)             1, 2, 5,8
                                              from Comp* Case (41)

                                                          'p                 0 A6141 Sister State Judgment                                         2.5, 11
                                                                             0 A6160 Abstract of Judgment                                          2,6
                                                          i
                                                    Enforcement              0 A6107 Confession of Judgment(non-domestic relations)                2,9
                                                  of Judgnient(20)           0 A6140 Administrative Agency Award (not unpaid taxes)                2, 8
                                                          i
                                                          i                  0 A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax      2,8

                                                          ,                  0 A6112 Other Enforcement of Judgment Case                            2, 8,9

                                                     RIC(5.(27)              0 A6033 Racketeering (RICO)Case                                       1, 2,8
   Civil Complaints
    Miscellaneous




                                                         '                  0 A6030 Declaratory Relief Only                                        1, 2.8

                                                Other Complaints            0 A6040 Injunctive Relief Only (not domestic/harassment)               2,8
                                            (Not Specified Above)(42)       0 A6011 Other Commercial Complaint Case (non-tort/non-complex)         1, 2,8
                                                         4
                                                         p.
                                                         -                  0 A6000 Other Civil Complaint(non-tort/non-complex)                    1, 2,8

                                              Partnership Corporation
                                                                            0 A6113 Partnership and Corporate Governance Case                      2, 8
                                                 Governance(21)
                                                          1                 0 A6121 Civil Harassment With Damages                                 2, 3, 9
                                                         '
                                                         t
  Miscellaneous
  Civil Petitions




                                                                            0 A6123 Workplace Harassment With Damages                             2, 3, 9
                                                         :
                                                                            0 A6124 Elder/Dependent Adult Abuse Case With Damages                 2, 3, 9
                                                Other Petilions (Not
                                               Specified Above)(43)         0 A6190 Election Contest                                              2
                                                         ;                  0 A6110 Petition for Change of Name/Change of Gender                  2, 7
                                                         :                  0 A6170 Petition for Relief from Late Claim Law                       2, 3, 8
                                                                            0 A6100 Other Civil Petition                                          2,9




                                                                            CIVIL CASE COVER SHEET ADDENDUM                                     Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                                               AND STATEMENT OF LOCATION                                          Page 3 of 4
 For Mandatory Use
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 31 of 78 Page ID #:42


 SHORT TITLE:   Jaqueline Pone v. Garfield Beach CVS LLC et al.                       CASE NUMBER




Step 4: Statement ot Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
           type of action that you have selected. Enter the address which is the basis for the filing location, in'cluding zip code.
           (No address required for class action cases).

                                                                  ADDRESS;
    REASON:                                                                          1747 N. Cahuenga Boulevard
  ":1. 1 12J43. i4J15. 1 16..J7.



   CITY:                                    STATE:    ZIP CODE:

   Hollywood                               CA         90028

Step 5: Certification Of Assignment: I certify that this case is properly filed in the Central                               District of
           the Superior Curt of California, County of Los Angeles[Code Civ. Proc., §392 et seq.               :al Rule 2.3(a)(1)(E)).




  Dated: December/ M621
                                                                                 (SIGNA      F ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
       1. Original Complaint or Petition.
      2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
      3. Civil Case Cover Sheet, Judicial Council form CM-010.

      4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
         02/16).
      5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
      6. A signed order:,appointing the Guardian ad Litem,.Judicial Council form CIV-010, if the plaintiff or petitioner is a
         minor under 18 years of age will be required by Court in order to issue a summons.

      7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
         must be served along with the summons and complaint, or other initiating pleading in the case.




                                          CIVIL CASE COVER SHEET ADDENDUM                                         Local Rule 2.3
  LASC CIV 109 Rev. 12/18
                                             AND STATEMENT OF LOCATION                                              Page 4 o14
  For Mandatory Use
             Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 32 of 78 Page ID #:43
                                                                                                           Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
Electronically FILED by Superior Court of California, County of Los Angeles on 12/16/202211y1;g1garri R.

                                       Assi6ned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: David Sotelo



                               Gavril T: Gabriel, Esq.[SBN: 296433]
                               THE LAW OFFICES OF GAVRIL T. GABRIEL
                        2      8255 Firestone Blvd., Suite 209
                               Downey,'California 90241
                        3
                              Phone:(562)758-8210
                        4     Fax:(562)758-8219
                              Email: GGabriel@GTGLaw.org
                        5
                               Attorney for Plaintiff,
                        6      JAQUEL1NE PONCE

                        7

                        8                                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

                        9                          COUNTY OF LOS ANGELES — STANLEY MOSK COURTHOUSE

                      10

                       11       JAQUEONE PONCE,an individual,                                       CASE NO. 21 SI— CV 45981
                                                     Plaintiff,
                      12                                                                            COMPLAINT FOR:
                                VS.                                                                   (1) FAILURE TO PAY WAGES;
                      13                                                                              (2) FAILURE TO PAY OVERTIME
                                                                                                          COMPENSATION;
                      14       GARFIE0 BEACH CVS LLC dba CVS,a                                        (3) FAILURE TO PROVIDE MEAL BREAKS;
                               Limited liability Company; and DOES 1                                  (4) FAILURE TO PROVIDE REST BREAKS;
                      15       through 10, inclusive,
                                                                                                      (5) WAITING TIME PENALTIES;
                                                     Defendants.                                      (6) FAILURE TO PROVIDE ACCURATE
                      16
                                                                                                          ITEMIZED WAGE STATEMENTS;
                                                                                                      (7) DISABILITY/PREGNANCY
                      17
                                                                                                          DISCRIMINATION;
                      18                                                                              (8) GENDER DISCRIMINATION;
                                                                                                     (9) RETALIATION (Gov. Code,§ 12940(h));
                      19                                                                             (10) FAILURE TO PREVENT DISCRIMINATION
                                                                                                          AND RETALIATION;
                     20                                                                              (11) FAILURE TO PROVIDE REASONABLE
                                                                                                          ACCOMMODATION;
                     21                                                                              (12) FAILURE TO ENGAGE IN GOOD FAITH
                                                                                                          INTERACTIVE PROCESS;
                     22                                                                              (13) CALIFORNIA FAMILY RIGHTS ACT
                                                                                                        ("CFRA")AND PAID LEAVE
                     23                                                                                   DISCRIMINATION;
                                                                                                     (14) RETALIATION FOR REQUESTS FOR CFFtA
                     24                                                                                   LEAVE;
                                                                                                    (15) UNFAIR AND UNLAWFUL BUSINESS
                     25                                                                                   PRACTICES (In Violation of Bus. & Prof.
                                                                                                          Code, §§ 17200 et seq.); and
                     26                                                                             (16) WRONGFUL TERMINATION [In Violation of
                                                                                                          Public Policy].
                     27
                                                                                                   Unlimited,
                     28                                                                            Jury Trial Demanded
                                                                                                   -1-
                                                                               COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 33 of 78 Page ID #:44




      1           COMES NOW PLAINTIFF, JAQUELINE PONCE (hereafter referred to as "Plaintiff' or

     2 "Ms. Ponce"), and complains and alleges as follows:
                   ;



     3                                            1.      SUMMARY

     4            This is an action by Plaintiff, whose employment with GARFIELD BEACH CVS LLC dba

     5    CVS (hereafter referred to as "Defendant" or "CVS") was wrongfully terminated. Plaintiff brings

     6    this action against Defendants for economic, non-economic, compensatory, and punitive damages,

     7    pursuant to Civil Code section 3294, pre-judgment interest pursuant to C'Ode of Civil Procedure

     8    section 3291, and costs and reasonable attorneys' fees pursuant to Government Code section

     9    1 2965(b):and Code ofCivil Procedure section 1021.5.

     10                                            II.     PARTIES

    11                     Plaintiff Plaintiff is, and at all times mentioned in this Complaint was, a resident
                       1



    12    of the County of Los Angeles, California. Plaintiff was employed by Defendants in the City of

    13    Hollywood, County of Los Angeles, State of California.

    14           2..       Defendants: Defendants GARFIELD BEACH CVS LLC dba CVS and DOES 1

    15    through 1.0 (hereafter collectively referred to as "Defendant" or "CVS"), are and at all times

    16    relevant were, a Limited Liability Company organized and existing by virtue of the laws of the

    17    State of California, are qualified to do business and are doing business in the State of California,

    18    with their relevant place of business in the City of Hollywood, County of Los Angeles, California.

    19           3.        Doe Defendants: Defendants Does 1 through 10, inclusive, are sued under fictitious

    20    names pursuant to Code ofCivil Procedure section 474. Plaintiff is informed and believes, and on

    21    that basis alleges, that each of the Defendants sued under fictitious names are in some manner

    22    responsible for the wrongs and damages alleged below, in so acting was functioning as the agent,

    23    servant, partner, and employee of the co-Defendants, and in taking the actions mentioned below

    24    was acting within the course and scope of his or her authority as such agent, servant, partner, and

    25    employeeovith the permission and consent of the co-Defendants. The named Defendants and Doe

    26    Defendants are sometimes hereafter referred to, collectively and/or individually, as "Defendants."

    27           4. .      Relationship of Defendants: All Defendants were responsible for the events and

    28    damages alleged herein, including on the following bases: (a) Defendants committed the acts

                                                      -2-
                                             COMPLAINT FOR DAMAGES
 Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 34 of 78 Page ID #:45




               alleged;(b) at all relevant times, one or more of the Defendants was the agent or employee, and/or

           2   acted under the control or supervision, of one or more of the remaining Defendants and, in

           3   committing the acts alleged, acted within the course and scope of such agency and employment

           4   and/or is4)r are otherwise liable for Plaintiff's damages;(c) at all relevant times, there existed a

           5   unity of ownership and interest between or among two or more of the Defendants such that any

           6   individuality and separateness between or among those Defendants has ceased, and Defendants are

           7   the alter egos of one another. Defendants exercised domination and control over one another to

           8   such an extent that any individuality or separateness of Defendants does not, and at all times herein

           9   mentioned did not, exist. Adherence to the fiction of the separate existence of Defendants would

          10   permit abpse of the corporate privilege and would sanction fraud and promote injustice. All actions

          11   of all Defendants were taken by employees, supervisors, executives, officers, and directors during
:7
 3

M0
-
< r`l
          12   employment with all Defendants, were taken on behalf of all Defendants, and were engaged in,

          13   authorized, ratified, and approved of by all other Defendants.
• •c)
<         14          5.         Defendant both directly and indirectly employed Plaintiff, as defined in the Fair
  —
 =c)
  u.1
  z       15   Employment and Housing Act("FEHA")at Government Code section 12926(d).
  oz
LL•mr-N
          16          6.•      In addition, Defendant compelled, coerced, aided, and abetted the discrimination,
                         4
 ,
 e 1
 00
          17   which is rirohibited under California Government Code section 12940(i).

          18          7.       Finally, at all relevant times mentioned herein, all Defendants acted as agents of all

          19   other Defendants in committing the acts alleged herein.

          20                                HI.      VENUE AND JURISDICTION

          21          8.       Venue is proper in the County of Los Angeles because Defendants employed

          22   Plaintiff in the County of Los Angeles, and the acts complained of herein occurred in the County

          23   of Los Angeles.

          24                IV.       FACTS COMMON TO ALL CAUSES OF ACTION

          25          9.      Plaintiff's hiring: Defendant Garfield Beach CVS LLC dba CVS(hereafter"CVS"

          26   or "Defendant") hired Plaintiffiaqueline Ponce (hereafter "Ms. Ponce" or "Plaintiff") in or around

          27   2009 as a Cashier. Plaintiff worked for Defendant at its location of 1747 N. Cahuenga Boulevard,

          28   Hollywood, California 90028. Approximately one year after Plaintiff's hiring, Defendant promoted

                                                           -3-
                                                  COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 35 of 78 Page ID #:46




      1   her to Supervisor. Ms. Ponce's job duties included making sure the store was in order, working as

      2   a cashier; providing customer service to those in need of help, and ensuring that employees were

      3   doing the, tasks assigned to them, among other things. Plaintiffs most recent hourly rate while

      4   employeCI by Defendant was $19.45.

      5            o.       Plaintiff's protected status:

      6           a.        Plaintiff is and identifies as female.;

      7           b.1       Plaintiff possessed more than one disability as defined by Government Code

      8          section 12926(m); and

      9                     Plaintiff requested reasonable accommodation.

     10           1 l.      In or around March of 2019, Ms.Ponce went out on disability due to a back injury.

     11   While on disability, Ms. Ponce regularly communicated with Defendant's Human Resources

     12   department in order to provide updates regarding her disability status and to check in.

     13           1 27.     In or around October of 2019, Ms. Ponce returned to work and completed her work

     14   shifts as nOrmal. During this same month, Plaintiff informed the store manager, Laxman,and Amy,

     15   a supervisor, that Plaintiff was pregnant.

     16          13:        On or around December 12, 2019, Ms. Ponce went to the hospital due to an ankle

     17   fracture. As a result, Ms. Ponce was placed on disability for approximately eight (8) weeks. Ms.

     18   Ponce's husband went directly to Garfield Beach LLC dba CVS to inform them of Ms. Ponce's
     19   injuiy. In addition, Ms. Ponce texted the store manager, Laxman to inform him of her injury.

    20    Laxman told Ms. Ponce to contact Human Resources. Thereafter Plaintiff contacted Human

    21    Resources,and spoke with a representative who informed her that after seven days, Ms. Ponce
                        2
    22    would be able to apply for disability. However, Ms. Ponce was unable to apply for disability until

    23    she saw he:r doctor for her next appointment scheduled on January 91h, 2020.

    24           14..       In or around January 9'h, 2020, Ms. Ponce visited her doctor, who placed Plaintiff

    25    on disability until March of 2020. Ms. Ponce was due to deliver her child around this time.

    26           1 5.     On or around March 1st, 2020 Ms. Ponce delivered her child and notified Human
                     `;-
    27    Resources that she would like to use additional disability through FMLA. Ms. Ponce was granted

    28    this disability leave which ended around May of 2020.

                                                        -4-
                                               COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 36 of 78 Page ID #:47




      1           18.      Ms. Ponce thereafter contacted Human Resources and extended her leave until she

      2   was to report back to work on June 6111,2020.

      3           1 7.     In or around June 511', 2020 Ms. Ponce called Human Resources requesting

      4   additional time for FMLA. The Human Resources representative Ms. Ponce spoke with informed

      5   her, "Okay I am going to send it for review, and we will let you know." Ms. Ponce did not hear

      6   back and continued to take her leave.

      7           18.      In or around July 13h, 2020 Ms. Ponce called Human Resources to check in

      8   regarding:her leave and returning to work. The Human Resources representative notified Ms. Ponce

     9    that she had been terminated because Plaintiff's FMLA request had been denied. Ms. Ponce asked

     10   why she never received an email, letter, or call to inform her of this denial. The Human Resources

     11   representative informed Ms. Ponce that they had sent the denial to Ms. Ponce's email; however,

     12   after a thorough search, Ms. Ponce did not receive any email.

     13           19.      Defendant wrongfully terminated Plaintiff and failed to notify her that her
                    •i

     14   employment had been terminated. Plaintiff believes and based thereon alleges that Defendant

     15   terminated Plaintiff due to her pregnancy, her disability and/or injury, and in retaliation for

     16   Plaintiff's', requests for reasonable accommodation.

     17          20;      Throughout Plaintiff's employment with Defendant, Plaintiff did not regularly

    18    receive re'st breaks according to Labor Code section 226.7, as Plaintiffs rest breaks were often

     19   interrupted. Defendant failed to provide Plaintiff rest period penalties for each workday on which

    20    Plaintiff was not able to take her rest breaks.

    21           21.1     Throughout Plaintiff's employment with Defendant, Plaintiff did not regularly

    22    receive meal breaks according to Labor Code section 226.7. Further, Plaintiff could not leave

    23    Defendant?s location during her lunch break. Defendant failed to provide Plaintiff meal period

    24    penalties for each workday on which Plaintiff was not able to take her meal breaks.

    25           22.      Throughout Plaintiff's employment, Plaintiff often worked through her lunch

    26    breaks without receiving overtime compensation, in violation of Labor Code section 510. Further,

    27    Plaintiff's .final paycheck did not include all amounts due and owing to her, including unpaid

    28    vacation pay and meal and rest break penalties, in violation of Labor Code section 201.

                                                      -5-
                                             COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 37 of 78 Page ID #:48




      1            23.     As a result of Defendants' discrimination, retaliation and wrongful employment

      2   termination, Plaintiff has been harmed. Plaintiff seeks economic and non-economic damages, in

      3   addition to interest, attorney's fees, and costs.

      4            24.     Plaintiff has been discriminated against, retaliated against and wrongfully

      5   terminated by Defendants due to her gender, pregnancy, her actual and/or perceived disability
      6   and/or injuries, and requests for reasonable accommodation. As a result of said discrimination,

      7   retaliation and wrongful termination Plaintiff has been harmed on a continuous and ongoing basis.

      8   Plaintiff seeks economic and non-economic damages, in addition to interest, attorney's fees and

     9    costs.

     10            25.     This is an action brought by Plaintiff, against Defendants, alleging, inter alio;(1)

     11   Failure tO Pay Wages; (2) Failure to Pay Overtime Compensation; (3) Failure to Provide Meal

     12   Breaks; (4) Failure to Provide Rest Breaks; (5) Waiting Time Penalties; (6) Failure to Provide

     13   Accurate'Itemized Wage Statements; (7) Disability/Pregnancy Discrimination; (8) Gender

     14   Discrimination;(9) Retaliation (Gov. Code, § 12940(h)); (10) Failure to Prevent Discrimination

     15   and Retaliation; (11) Failure to Provide Reasonable Accommodation;(12) Failure to Engage in

     16   Good Faith Interactive Process;(13) California Family Rights Act and Paid Leave Discrimination;

     17 (14) Retaliation for Requests for CFRA Leave;(15) Unfair and Unlawful Business Practices; and

     18 (16) Wrongful Termination [In Violation of Public Policy].

     19            26.    Economic damages: As a consequence of Defendants' conduct, Plaintiff has

    20    suffered and will suffer harm, including lost wages, lost future income and employment benefits,

    21    damage to her career, lost overtime, unpaid expenses, and penalties, as well as interest on unpaid

    22    wages at the legal rate from and after each payday on which those wages should have been paid, in

    23    a sum to be proven at trial.

    24                    Non-economic damages: As a consequence of Defendants' conduct, Plaintiff has

    25    suffered and will suffer psychological and emotional distress, humiliation, mental pain and physical

    26    pain and anguish, in a sum to be proven at trial.

    27             28:    Punitive damages: Defendants' conduct constitutes oppression, fraud, and/or

    28    malice under California Civil Code section 3294 and, thus, entitles Plaintiff to an award of

                                                      -6-
                                             COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 38 of 78 Page ID #:49




      1   .exemplary and/or punitive damages.

      2                      Malice: Defendants' conduct was committed with malice within the meaning of

      3   California Civil Code section 3294, including that(a) Defendants acted with intent to cause injury

      4   to Plaintiff and/or acted with reckless disregard for Plaintiff's injury, including by terminating

      5   Plaintiff's. employment and/or taking other adverse job actions against Plaintiff because of her

      6   gender, pregnancy, actual and/or perceived disability and/or injury, and reasonable accommodation

      7   requests And/or (b) Defendants' conduct was despicable and committed in willful and conscious

      8   disregard, of Plaintiff's rights, health, and safety, including Plaintiffs right to be free of

      9   discrimination, retaliation and wrongful employment termination.

     10           b.         Oppression: In addition, and/or alternatively, Defendants' conduct was committed

     11   with oppression within the meaning of Civil Code section 3294, including that Defendants' Actions

     12   against PlAintiff because of her gender, pregnancy, actual and/or perceived disability and/or injury,

     13   and reasonable accommodation requests were "despicable" and subjected Plaintiff to cruel and

     14   unjust hardship in knowing disregard of Plaintiff's rights to a work place free of discrimination,

     15   retaliation, and wrongful employment termination.

     16           c.         Fraud: In addition, and/or alternatively, Defendants' conduct, as alleged, was

     17   fraudulent within the meaning of California Civil Code section 3294, including that Defendants

     18   asserted false (pretextual) grounds for terminating Plaintiff's employment and/or other adverse job

     19   actions, thereby to cause Plaintiff hardship and deprive her of legal rights.

    20           29.         Exhaustion of administrative remedies: Prior to filing this action, Plaintiff

    21    exhausted her administrative remedies by filing a timely administrative complaint, with the

    22  Department of Fair Employment and Housing("DFEH")and receiving a DFEH Right to Sue letter
                8
    23 ("Exhibit A").

    24           30          Attorneys'fees: Plaintiff has incurred and continues to incur legal expenses and

    25    attorneys' fees.
                                         V.      FIRST CAUSE OF ACTION
    26                                (Failure to Pay Wages(Labor Code, § 201))
                                   (Against Defendants CVS and DOES 1 through 10)
    27

    28           31.!.       Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1

                                                        -7-
                                               COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 39 of 78 Page ID #:50




      1    through 30 of this Complaint as though fully set forth herein.

      2           32.      Plaintiff is informed and believes and based thereon alleges that California Labor

      3    Code seciions 201, 203, 226.7 and 510 were in full force and effect, and binding upon Defendants,

      4    throughout the course of her employment.

      5           33.      At all tittles relevant, Plaintiff was an employee of Defendants.

      6           34.      Pursuant to Labor Code section 201(a), "If an employer discharges an employee,

      7   the wages earned and unpaid at the time of discharge are due and payable immediately."

      8           35,.     Plaintiff; who was informed of her termination on or around July 131", 2020, was

     9    entitled to receive all amounts owed to her on the date of her termination, including unpaid vacation

     10    pay, and ineal and rest break penalties, among other things.

     11           36_.    Defendant failed to provide Plaintiff with all wages owed upon her termination.

     12           37.     Further, Plaintiffs final paycheck did not include all wages owed to her, including

     13   unpaid vacation pay, and meal and rest break penalties, among other things.

     14           38:     Defendants refused and/or failed to promptly compensate Plaintiff all wages owed

     15   to her on the date of her termination, in violation of Labor Code section 201.

     16           39      Defendants knew, or should have known, that Plaintiff was not timely provided all
                    5
     17   amounts Owed to her.

     18           40.     As a proximate cause of Defendants' failure to provide Plaintiff all amounts owed

     19   to her upon termination, Plaintiff has been harmed in that she has been denied full compensation

    20    owed to her.

    21            41.     As a result of the unlawful acts of Defendants, Plaintiff is entitled to recovery of

    22    such unpaid wage amounts, plus interest and penalties thereon, attorney's fees and costs pursuant
    93    to Labor Code sections 218.5, 218.6, and 1194.

    24           42       The damages caused by Defendants are well in excess of the minimum subject

    25    matter jurisdictional amount of this Court and will be demonstrated according to proof.

    26            WIIIEREFORE, Plaintiff demands judgment as hereafter set forth.

    27    ///

    28    ///

                                                     -8-
                                            COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 40 of 78 Page ID #:51




      1                               VI.    SECOND CAUSE OF ACTION
                        (Failure to Pay Overtime Compensation (Labor Code, §§ 510, 1194))
      2                         (Against Defendants CVS and DOES 1 through 10)

      3          43.      Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1

      4   through 42 of this Complaint as though fully set forth herein.

      5          44.      Plaintiff is informed and believes and based thereon alleges that California Labor

      6   Code sections 1194 and 510 were in full force and effect, and binding upon Defendants,throughout

      7   the course of her employment. Pursuant to Labor Code section 510(a), "Any work in excess of

      8   eight(8) hours in one workday and any work in excess of forty (40) hours in any one workweek...

     9    shall be compensated at the rate of no less than one and one-half times the regular rate of pay for

     10   an employee."

     11          45.      At all times relevant, Plaintiff was an employee of Defendants.

     12          46.      Plaintiff worked overtime hours while employed by Defendants. However,Plaintiff

     13   did not receive overtime compensation for all hours worked in excess of eight (8) hours per

     14   workday or forty (40) hours per workweek. Thus, Defendants deprived Plaintiff of all overtime

     15   compensation owed to her.

     16          47;:     Plaintiff believes and based thereon alleges that Defendant failed to compensate

     17   Plaintiff at least six (6)overtime hours monthly.

    18           48:1     Defendants knew or should have known that Plaintiff worked overtime hours.

    19           49.      Defendants refused to compensate Plaintiff properly for all overtime hours worked,

    20    in violation of Labor Code section 510.

    21           56:      As a result of Defendants' failure to provide Plaintiff proper overtime

    22    compensation, Plaintiff has been harmed in that she has been denied full compensation owed to

    23    her.

    24           51i'     As a result of the unlawful acts of Defendants, Plaintiff is entitled to recovery of

    25    such unpaid wage amounts, plus interest and penalties thereon, attorney's fees and costs of suit

    26    pursuant to Labor Code sections 218.5, 218.6, and 1194.

    27           52       The damages caused by Defendants are well in excess of the minimum subject

    28    matter jurisdictional amount of this Court and will be demonstrated according to proof.

                                                     -9-
                                            COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 41 of 78 Page ID #:52




      1              WHEREFORE,Plaintiff demandsjudgment as hereafter set forth.
      2
                                           VII.   THIRD CAUSE OF ACTION
      3                    (Failure to Pay Wages for Meal Break Periods(Labor Code, § 226.7))
                                   (Against Defendants CVS and DOES 1 through 10)
      4
      5             53.      Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1

      6   through 52 of this Complaint as though fully set forth herein.

      7             54.      California Labor Code section 226.7 requires an employer to pay an additional hour

      8   ofcompensation for each workday in which an employee is prevented from taking her meal period.

      9   Employees are entitled to a meal period ofat least thirty(30) minutes per five(5)hour work period.

     10   Plaintiff consistently worked over five (5) hours without being permitted or allowed to take the

     11   proper duty free thirty (30) minute legally required meal period.

     12             55..     At all times relevant, Plaintiff was an employee of Defendants.

     13             56.      Throughout her employment with Defendants, Plaintiff was regularly required to

     14   work through her meal periods and/or was not given meal periods at all, in violation of Labor Code

     15   section   226.7. Defendants also failed   to make and keep accurate time records recording meal

     16   periods provided to Plaintiff.

     17             57.      Plaintiff is informed and believes, and based thereon alleges, that Defendants

     18   prohibited and/or prevented her from taking her legally required meal periods.

     19             58:.     As a result of Defendants' violations of Labor Code section       226.7, Plaintiff is
    20    entitled to damages in an amount equal to one (1) hour of wages per workday in which Plaintiff

    21    was prevented from taking her meal period, in a sum to be proven at trial, plus interest and penalties

    22    thereon, attorney's fees, and costs of suit, pursuant to Labor Code sections 218.5 and 218.6.

    23              59;,     The damages caused by Defendants are well in excess of the minimum subject

    24    matter jurisdictional amount of this Court and will be demonstrated according to proof.

    25              WHEREFORE,Plaintiff demands judgment as hereafter set forth.

    26    //I

    27
    28
                                                      -10-
                                              COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 42 of 78 Page ID #:53




      1                               VIII. FOURTH CAUSE OF ACTION
                        (Failure to Pay Wages for Rest Break Periods (Labor Code,§ 226.7))
      2                         (Against Defendants CVS and DOES 1 through 10)

      3           66.      Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1

      4   through 59 of this Complaint as though fully set forth herein.

      5           61.      California Labor Code section 226.7 requires an employer to pay an additional hour

      6   ofcompensation for each workday in which an employee is prevented from taking her rest breaks.

      7   Employees are entitled to a paid ten (10) minute rest break for every four (4) hours or fraction

      8   thereof worked. Plaintiff consistently worked over four (4) hours per shift with no uninterrupted

     9    rest breaks during the relevant statutory period.

     10          62.      At all times relevant, Plaintiff was an employee of Defendants.

     11          63.      Defendants failed to provide or allow Plaintiff uninterrupted rest breaks of not less

     12   than ten (10) minutes for every four(4) hour work period as required by Labor Code section 226.7

     13   during the relevant statutory period.

     14          64.      Plaintiff is informed and believes, and based thereon alleges, that Defendants

     15   prohibited and/or prevented Plaintifffrom taking her legally required rest breaks.

     16          651      As a result of Defendants' violations of Labor Code section 226.7, Plaintiff is

     17   entitled to damages in an amount equal to one (1) hour of wages per workday in which Plaintiff

     18   was prevented from taking her rest breaks, in a sum to be proven at trial, plus interest and penalties

     19   thereon, attorney's fees, and costs of suit, pursuant to Labor Code sections 218.5 and 218.6.

    20           66:      The damages caused by Defendants are well in excess of the minimum subject

    21    matter jurisdictional amount of this Court and will be demonstrated according to proof.

    22           WHEREFORE,Plaintiff demands judgment as hereafter set forth.
                    F
    23
                                     IX.     FIFTH CAUSE OF ACTION
    24                            (Waiting Time Penalties (Labor Code,§ 203))
                                (Against Defendants CVS and DOES 1 through 10)
    25

    26           67:      Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1

    27    through 66 of this Complaint as though fully set forth herein.

    28           68.      Plaintiff is informed and believes and based thereon alleges that California Labor

                                                     -11-
                                             COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 43 of 78 Page ID #:54




      1   Code seqtions 201, 203, 226.7, 510 and 1 194 were in full force and effect, and binding upon

      2   Defendants, throughout the course of her employment.

      3          69.      At all times relevant, Plaintiff was an employee of Defendants.

      4           70.     Plaintiff, who was terminated, was not provided all wages owed to her by

      5   Defendants upon her termination, in violation of Labor Code section 203, which provides that if an

     6    employer willfully fails to pay any wages of an employee who is discharged, the wages of the

      7   employee shall continue as a penalty from the due date thereof at the same rate until paid (not to

      8   exceed 30 days) or until an action is commenced.

     9                    As a result of Defendants' failure to pay Plaintiff waiting time penalties, Plaintiff

     10   has been harmed in that she has been deprived of all wages due and owing to her.

     11          72.      As a result of the unlawful acts of Defendants, Plaintiff is entitled to recovery of

     19   such unpaid wage amounts, penalties, plus interest and penalties thereon, attorneys' fees and costs

     13   pursuant to Labor Code sections 203, 218.5, 218.6 and 1194.

     14                   The damages caused by Defendants are well in excess of the minimum subject

     15   matter jurisdictional amount of this Court and will be demonstrated according to proof.

     16          WHEREFORE,Plaintiff demands judgment as hereafter set forth.

     17
                                      X.     SIXTH CAUSE OF ACTION
    18           (Failure to Provide Accurate Itemized Wage Statements(Labor Code, § 226(e)))
                               (Against Defendants CVS and DOES 1 through 10)
    19

    20           74i      Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1

    21    through 73 of this Complaint as though fully set forth herein.

    22           75       At all times herein mentioned, Labor Code section 226 was in full force and effect

    23    and was binding on Defendants. This statute requires an employer to provide an employee an

    24    accurate itemized wage statement in writing showing, among other things, total hours worked by

    25    the employee, all gross wages earned, and the correct applicable hourly rates.
                    1
    26           76.-     At all times relevant, Plaintiff was an employee of Defendants.

    27           77.:    Throughout Plaintiff's employment, Defendants failed to provide Plaintiff with

    28    accurate itemized wage statements accurately showing all hours worked, as well as all applicable

                                                    -12-
                                            COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 44 of 78 Page ID #:55
                        it




          1    hourly rates in effect during the pay period and the corresponding number of hours worked at each

      2        hourly rate by the employee, in violation of Labor Code section 226(e).

      3               7$.      During Plaintiff's employment, Defendant did not provide Plaintiff with overtime

      4       compensation in violation of Labor Code sections 510 and 1194. Further, during Plaintiff's

      5        employment, Defendant regularly failed to provide Plaintiff meal and rest breaks in violation of

      6       Labor Code section 226.7. Plaintiff believes and based thereon alleges that Defendants failed to

      7        provide accurate itemized wage statements so as to conceal their violations ofLabor Code sections

      8       226.7, 510 and 1194.
      9               79.      Plaintiff was damaged and injured as a result of Defendants' violation of Labor

     10       Code section 226.

     11               8Q.      Pursuant to Labor Code section 226(e), Plaintiff is entitled to recover the greater of

     12       all actual;damages of fifty dollars($50)for the initial pay period in which the violation occurs and

     13       one hundred dollars ($100) per employee for each violation in subsequent pay periods not

     14       exceeding an aggregate penalty of four thousand dollars ($4,000) and is entitled to an award of

     15       costs and 'reasonable attorney's fees.

     16               WHEREFORE,Plaintiff demandsjudgment as hereafter set forth.

     17
                                        XI.     SEVENTH CAUSE OF ACTION
     18                        (Pregnancy/Disability Discrimination (In Violation of FEHA))
                                   (Against Defendants CVS and DOES 1 through 10)
     19

     20               81       Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1

     21       through 80 of this Complaint as though fully set forth herein.

     22              82:,     At all times mentioned herein, Defendants employed five or more persons, and

    23        Government Code sections 12900 et seq., were in full force and effect and binding on Defendants.

    24        These sections require Defendants to refrain from discriminating against any employee as a result

    25        oftheir disability, pursuant to section 12940(a). Further, these sections require Defendants to refrain

    26        from discriminating against any employee for complaining about discrimination pursuant to

    27        sections 12940(h) and 12940(j)(1).

    28               83.;     Plaintiff is a member of more than one protected class within the meaning of

                                                         -13-
                                                 COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 45 of 78 Page ID #:56




      1    Government Code sections 12900 et seq.
                    A
      2           84.      At all t.imes relevant, Plaintiff was an employee of Defendants.

      3           85.      During Plaintiffs employment, Plaintiff was pregnant, Plaintiff suffered from an

      4   injury and/or disability, and Plaintiff requested reasonable accommodation in the form of time off

      5   work.

      6           86.      During    Plaintiff's   employment     with    Defendants, Plaintiff experienced

      7   discrimination from Defendants in the form of disparate treatment on account of Plaintiff's

      8   pregnancy, and actual and/or perceived injury and/or disability, as herein alleged.

      9          8.      At all times material hereto, Plaintiff performed her duties and responsibilities as
                   ‘,
     10   required by Defendants competently and above expectation.

     11           88:      Defendants treated Plaintiff less favorably than other employees. Plaintiff believes

     12   and based thereon alleges that her pregnancy, and actual and/or perceived injury and/or disability

     13   were factors in Defendants' discrimination of Plaintiff.

     14           89,      Plaintiff was informed of her termination on or around July 13th, 2020.

     15           90       Plaintiff believes and based thereon alleges that her pregnancy, and her actual

     16   and/or perceived injury and/or disability, as well as her requests for reasonable accommodation

     17   were contributing factors in Defendant's decision to terminate Plaintiff.

     18           91.     Such discrimination is in violation of Government Code sections 12940 et seq., and

     19   has resulted in damage and injury to Plaintiff, as alleged herein.

    20            92;     Within the time provided by law, Plaintiff filed a complaint with the California

    21    Department of Fair Employment and Housing, in full compliance with FEHA section 2699.3 and

    22    received and served upon Defendants a Right to Sue letter.

    23            93;     As a proximate cause of Defendants' willful, knowing, and intentional

    24    discrimination against Plaintiff, Plaintiff has sustained, and continues to sustain, substantial losses

    25    in earnings and other employee benefits.

    26            94.:    As a direct and proximate cause of Defendants' unlawful conduct, Plaintiff has

    27    suffered and continues to suffer humiliation, emotional distress, physical pain and mental pain and

    28    anguish, all to her damage in a sum according to proof.

                                                     -14-
                                             COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 46 of 78 Page ID #:57




                  95.      Defendants were aware of their obligation not to discriminate against Plaintiff

      2   based upon her pregnancy and her actual and/or perceived disability and/or injury pursuant to

      3   Government Code section 12940(a). However, Defendants failed to do so. Thus, Defendants

      4   intentionally disregarded the Government Code and discriminated against Plaintiff, so as to cause

      5   injury to Plaintiff. Further, Defendants' conduct was despicable in that it was carried on by

     6    Defendants with a willful and conscious disregard of the rights or safety of others, thereby

      7   constituting malice as defined by Civil Code section 3294.

      8           96.     Defendants' discrimination against Plaintiff was despicable, and subjected Plaintiff

     9    to cruel and unjust hardship by subjecting Plaintiffto unwanted disparate treatment and humiliation,

     10   as herein:alleged, in conscious disregard of Plaintiff's rights, thereby constituting oppression as

     11   defined by Civil Code section 3294.

     12           97.     Defendants have acted in a malicious and oppressive manner by subjecting Plaintiff

     13   to unwanted discrimination and disparate treatment, entitling Plaintiff to punitive damages.

     14          98.      Plaintiff has incurred and continues to incur legal expenses and attorney's fees.

     15   Pursuant ;,to Government Code section 12965(b), Plaintiff is entitled to recover reasonable

     16   attorney's fees and costs(including expert costs) in an amount according to proof

     17          99.      The damages caused by Defendants are well in excess of the minimum subject

     18   matter jurisdictional amount of this Court and will be demonstrated according to proof.

     19           WHEREFORE,Plaintiff demands judgment as hereafter set forth.

    20
                                     XII.    EIGHTH CAUSE OF ACTION
    21                           (Gender Discrimination (Gov. Code,§ 12940(a)))
                                 (Against Defendants CVS and DOES 1 through 10)
    22

    23           100.     Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1

    24    through 99 ofthis Complaint as though fully set forth herein.

    25            101.    At all times mentioned herein, Defendants employed five or more persons, and

    26    Government Code sections 12900 et seq., were in full force and effect and binding on Defendants.

    27    These sections require Defendants to refrain from discriminating against any employee as a result

    28    of their gender, pursuant to section 12940(a). Further, these sections require Defendants to refrain

                                                    -15-
                                            COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 47 of 78 Page ID #:58




                 from discriminating against any employee for complaining about discrimination pursuant to

             2   sections 12940(h) and 12940(j)(1).

             3           102.     Plaintiff is a member of a protected class within the meaning of Government Code

             4   sections 12900 et seq.

             5           103.     Plaintiff is, and identifies herself as, female.

             6           104.     At all times relevant, Plaintiff was an employee of Defendants.

             7           105.     During    Plaintiffs    employment      with       Defendants, Plaintiff experienced

             8   discrimination from Defendants in the form of disparate treatment on account of Plaintiffs sex

             9   and/or gender, as herein alleged.

            10           106.     At all times material hereto, Plaintiff performed her duties and responsibilities as

            11   required by Defendants competently and above expectation.
    C'
<           12           1 07.    Defendants treated Plaintiff less favorably than other employees. Plaintiff believes
     Lo
     5
    c.n     13   and based thereon alleges that her sex and/or gender was a factor in Defendants' discrimination of
>
  •0
   a.,
                            .;
<>
            14   Plaintiff.
    w
    z
    oz      15           108.     Further, on or about July 13th, 2020, Defendants notified Plaintiff that her
-
    cel:1
            16   employment had been terminated.

coso        17           109.     Such discrimination is in violation of Government Code sections 12940 et seq., and

            18   has resulted in damage and injury to Plaintiff, as alleged herein.

            19           1 1.0.   Within the time provided by law, Plaintiff filed a complaint with the California

            20   Department of Fair Employment and Housing, in full compliance with FEHA section 2699.3 and

            21   received and served upon Defendants a Right to Sue letter.

            22          1 19.    As a proximate cause of Defendants' willful, knowing, and intentional
                           1
            23   discrimination against Plaintiff, Plaintiff has sustained, and continues to sustain, substantial losses

            24   in earninglS and other employee benefits.

            25           1 12.    As a direct and proximate cause of Defendants' unlawful conduct, Plaintiff has

            26   suffered and continues to suffer humiliation, emotional distress, physical pain and mental pain and

            27   anguish, all to her damage in a sum according to proof.

            28           1 13.    Defendants were aware of their obligation not to discriminate against Plaintiff

                                                                  -16-
                                                     COMPLAINT FOR DAMAGES




                           4
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 48 of 78 Page ID #:59




      1   based upon her sex and/or gender pursuant to Government Code section 12940(a). However,

      2   Defendants failed to do so. Thus, Defendants intentionally disregarded the Government Code and

      3   discriminated against Plaintiff, so as to cause injury to Plaintiff. Further, Defendants' conduct was

      4   despicable in that it was carried on by Defendants with a willful and conscious disregard of the

      5   rights or Safety of others, thereby constituting malice as defined by Civil Code section 3294.

      6           1 14.   Defendants' discrimination against Plaintiff was despicable, and subjected Plaintiff

      7   to cruel and unjust hardship by subjecting Plaintiff to unwanted disparate treatment, as herein

      8   alleged, in conscious disregard of Plaintiff's rights, thereby constituting oppression as defined by

      9   Civil Code section 3294.

     10           1 15.   Defendants have acted in a malicious and oppressive manner by subjecting Plaintiff

     11   to unwanted discrimination and disparate treatment, entitling Plaintiff to punitive damages.

     12           1 16.   Plaintiff has incurred and continues to incur legal expenses and attorney's fees.

     13   Pursuant to Government Code section 12965(b), Plaintiff is entitled to recover reasonable

     14   attorney's fees and costs (including expert costs) in an amount according to proof.

     15           1 1g.   The damages caused by Defendants are well in excess       of the minimum subject
     16   matter jurisdictional amount of this Court and will be demonstrated according to proof.

     17          WHEREFORE,Plaintiff demands judgment as hereafter set forth.

     18
                                     XIII. NINTH CAUSE OF ACTION
     19                              (Retaliation (Gov. Code,§ 12940(h)))
                                (Against Defendants CVS and DOES 1 through 10)
    20
                    A
    21           1 18.    Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1

    22    through 117 of this Complaint as though fully set forth herein.

    23           1 19.    At all times mentioned herein, Defendants employed five or more persons, and

    24    Government Code sections 12900 et seq. were in full force and effect and binding on Defendants.

    25    These sections require Defendants to refrain from retaliating against any employee due to gender,

    26    an actual 'and/or perceived disability, requests for reasonable accommodation, and good-faith

    27    complaints pursuant to section 12940(a).

    28           120.     At all relevant times, Plaintiff was an employee of Defendants.

                                                    -17-
                                            COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 49 of 78 Page ID #:60
                    4




                  121.       During Plaintiffs employment, Plaintiff suffered from an actual and/or perceived
                    7
      2   disabi1ity1and/or    injury, had more than one pregnancy, and requested reasonable accommodation,

      3   as herein'alleged.

      4           1 22.     Plaintiff is a member of more than one protected class within the meaning of

      5   Governnient Code sections 12900 et seq.

      6           123.     Plaintiff was unlawfully discriminated against by Defendants in retaliation for her

      7   pregnancy, her actual and/or perceived disability and/or injury, and reasonable accommodation

      8   requests, in direct violation of FEHA.

      9           124.     During her employment with Defendants, Plaintiff requested reasonable

     10   accommodation for her injuries and/or disability, and pregnancy.

     11           1 2.5.   On or around June 5, 2020 Plaintiff requested reasonable accommodation in the

     12   form of additional time off work.

     13           1f6.     On or around July 13, 2020, Plaintiff was informed by Defendant that she had been

     14   terminated after her accommodation request was denied. Defendant had not informed Plaintiff that

     15   her requeSt was denied, nor that she was terminated.

     16           1 27.    Plaintiff's gender, pregnancy, and actual and/or perceived disability and/or injury,

     17   and requests for reasonable accommodation were contributing factors in Defendants' retaliation

     18   against Plaintiff.

     19           1 28.    Defendants' retaliation against Plaintiff was a substantial factor in causing

     20   Plaintiffs;harm.

     21           129.     As a proximate result of Defendants' willful, knowing, and intentional retaliation

     22   against Plaintiff, Plaintiff has sustained and continues to sustain substantial losses of earnings and

     23   other employment benefits.

     24           1 36.    As a proximate result of Defendants' willful, knowing, and intentional retaliation

     25   against Plaintiff, Plaintiff has suffered and continues to suffer humiliation, emotional distress,

     26   physical pain and mental pain and anguish, all to her damage in a sum according to proof.

    27           1 31.     Defendants were aware of their obligation not to retaliate against Plaintiff based

     28   upon her gender, pregnancy, and actual and/or perceived disability and/or injury, and reasonable

                                                      -18-
                                              COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 50 of 78 Page ID #:61




      1   accommodation requests, pursuant to FEHA and Government Code sections 12940 et seq.

      2   However Defendants failed to do so. Thus, Defendants intentionally disregarded FEHA and the

      3   Government Code and retaliated against Plaintiff, so as to cause injury to Plaintiff. Further,

      4   Defendants' conduct was despicable in that it was carried on by Defendants with a willful and

      5   conscious disregard of the rights or safety of others, thereby constituting malice as defined by Civil

      6   Code section 3294.

      7           132.    Defendants' retaliation against Plaintiff based upon Plaintiff's pregnancy, and

      8   actual and/or perceived disability and/or injury, and reasonable accommodation requests was

     9    despicable, and subjected Plaintiff to cruel and unjust hardship by subjecting Plaintiff to disparate

     10   treatment and wrongful employment termination, as herein alleged, in conscious disregard of

     11   Plaintiff's rights, thereby constituting oppression as defined by Civil Code section 3294.

     12           1 33.   Defendants have acted in a malicious and oppressive manner by retaliating against

     13   Plaintiff based upon Plaintiffs gender, pregnancy, and actual and/or perceived disability and/or

     14   injury, and reasonable accommodation requests, entitling Plaintiff to punitive damages.

     15           1 34.   Plaintiff has incurred and continues to incur legal expenses and attorneys' fees.

     16   Pursuant to Government Code section 12965(b), Plaintiff is entitled to recover reasonable

     17   attorneys'fees and costs (including expert costs) in an amount according to proof.

     18           1 35.   The damages caused by Defendants are well in excess of the minimum subject

     19   matter jurisdictional amount of this Court, and will be demonstrated according to proof.

    20           WHEREFORE, Plaintiff demands judgment as hereafter set forth.

    21
                                       XIV. TENTH CAUSE OF ACTION
    22                Failure to Prevent Discrimination and Retaliation (Gov. Code, § 12940(k)))
                                 (Against Defendants CVS and DOES 1 through 10)
    23

    24           136.     Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1

    25    through 135 of this Complaint as though fully set forth herein.

    26           137.     At all times mentioned herein, Defendants employed five or more persons, and

    27    Government Code sections 12900 et seg., were in full force and effect and binding on Defendants.

    28    These sections require Defendants to take all reasonable steps necessary to prevent discrimination

                                                    -19-
                                            COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 51 of 78 Page ID #:62




      1   and retaliation from occurring pursuant to Government Code section 12940(k). Prior to filing this

      2   Complaint, Plaintiff filed a timely administrative charge with the DFEH and received a Right to

      3   Sue letter.

      4             138.    At all times relevant, Plaintiff was an employee of Defendants.

      5             1 39.   Throughout Plaintiffs employment with Defendants, Defendants failed to prevent

      6   its employees from engaging in intentional actions that resulted in Plaintiffs being treated less

      7   favorably because of Plaintiffs protected status (i.e., her pregnancy, actual and/or perceived

     8    disability:,and/or injury, and reasonable accommodation requests). During the course of Plaintiffs

     9    employment. Defendants failed to prevent their employees from engaging in unjustified

     10   employment practices against employees in such protected classes. Plaintiff has been subjected to

     11   discrimination and retaliation, as herein described at the hands of Defendants and Defendants'

     12   agents.

     13             140.    Defendants failed to take all reasonable steps to prevent the discrimination and

     14   retaliation faced by Plaintiff As a result, Plaintiff was harmed.

     15             141.    Defendants' failure to take all reasonable steps to prevent the discrimination and

     16   retaliation' was a substantial factor in causing Plaintiffs harm.

     17             142.    Plaintiff believes, and on that basis alleges, that her pregnancy, and actual and/or

     18   perceived'disability and/or injury, and/or other protected status and/or other protected activity were

     19   substantial motivating factors in Defendants' discrimination and retaliation of Plaintiff.

    20              143.    As a proximate cause of Defendants' willful, knowing, and intentional failure to

    21    prevent discrimination and retaliation against Plaintiff, Plaintiff has sustained, and continues to

    22    sustain, substantial losses in earnings and other employee benefits.

    23              144.    As a direct and proximate cause of Defendants' unlawful conduct, Plaintiff has

    24    suffered and continues to suffer humiliation, emotional distress, physical pain and mental pain and

    25    anguish, all to her damage in a sum according to proof.

    26           145.       Defendants were aware oftheir obligation to prevent discrimination and retaliation,

    27    pursuant to Government Code section 12940(k). However, Defendants failed to do so. Thus,

    28    Defendants intentionally disregarded the Government Code and allowed discrimination and

                                                      -20-
                                              COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 52 of 78 Page ID #:63




      1    retaliation against Plaintiff, so as to cause injury to Plaintiff Further, Defendants' conduct was

      2   despicable in that it was carried on by Defendants with a willful and conscious disregard of the

      3   rights or Safety of others, thereby constituting malice as defined by Civil Code section 3294.

      4           1 46.     Defendants' failure to prevent discrimination and retaliation against Plaintiff was

      5   despica14e, and subjected Plaintiff to cruel and unjust hardship by subjecting Plaintiff to said

      6   discriminatory and retaliatory conduct, as herein alleged, in conscious disregard of Plaintiff's

      7   rights, thereby constituting oppression as defined by Civil Code section 3294.

      8           1 47.     Defendants have acted in a malicious and oppressive manner by failing to prevent

      9   discrimMation and retaliation against Plaintiff, entitling Plaintiff to punitive damages.

     10           148.      Plaintiff has incurred and continues to incur legal expenses and attorney's fees.

     11   Pursuannto Government Code section 12965(b), Plaintiff is entitled to recover reasonable

     12   attorney's fees and costs (including expert costs) in an amount according to proof.

     13           149.      The damages caused by Defendants are well in excess of the minimum subject

     14   matter jurisdictional amount of this Court and will be demonstrated according to proof

     15          WHEREFORE,Plaintiff demands judgment as hereafter set forth.

     16
                                       XV. ELEVENTH CAUSE OF ACTION
     17                  Failure to Provide Reasonable Accommodation (Gov. Code, § 12940(m)))
                                   (Against Defendants CVS and DOES 1 through 10)
     18

     19           150.      Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1

    20    through 149 of this Complaint as though fully set forth herein.

    21            151.      At all times mentioned herein, Defendants employed five or more persons, and

    22    Government Code sections 12900 et seq., were in full force and effect and binding on Defendants.

    23    These sections provide that it is an unlawful employment practice for Defendants to fail to provide

    24    a reasonable accommodation for the known disability of an employee pursuant to section

    25    1 2940(m)(1).

    26           152.       At all times relevant, Plaintiff was an employee of Defendants.

    27           1 53.     Plaintiff was able to perform the essential job duties of her position with reasonable

    28    accommodation for her disability.

                                                      -21-
                                              COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 53 of 78 Page ID #:64




      1           154.     Plaintiff had a disability which limited her major life activity as defined by

      2         . nt Code section 12926(m), and Defendants perceived Plaintiff as possessing a disability
          Govern*

      3   which liMited her major life activity as defined by Government Code section 12926(m). As such,

      4   Plaintiff is a member of more than one protected class within the meaning of Government Code

      5   sections 12900 et seq.

      6           155.     At all times material hereto, Plaintiff satisfactorily performed her duties and

      7   responsibilities as required by Defendants.

      8           156.     While Plaintiff was employed by Defendants, Defendants were aware that Plaintiff

      9   was pregnant, as Plaintiff informed Defendant that she was pregnant.

     10           157.     Plaintiff requested reasonable accommodation in the form of time off of work for

     11   pregnancY leave. On or around June 5, 2020 Plaintiff requested accommodation in the form of

     12   additional time off work.

     13           1 58.    Defendants failed to provide Plaintiff reasonable accommodation in response to her

     14   requests for such. Rather, Defendant terminated Plaintiffs employment on or around July 13'1',

     15   2020.

     16           159.     Although Defendants knew of Plaintiffs pregnancy and/or disability, Defendants

     17   refused toi.accommodate Plaintiff's disability and/or perceived disability upon Plaintiff's request, and

     18   instead terminated Plaintiff because of her pregnancy and/or disability, in direct contravention of the

     19   FEHA,and specifically in violation of California Government Code section 12940.

     20           160.    Defendants failed to provide reasonable accommodation for Plaintiff's actual

    21    and/or p*eived disability. Defendants' failure to provide reasonable accommodation was a

    22    substantial factor in causing Plaintiffs harm.

    23            161.    As a proximate cause of Defendants' willful, knowing, and intentional failure to

    24    provide re"asonable accommodation, Plaintiff has sustained, and continues to sustain, substantial

    25    losses in earnings and other employee benefits.

    26            162.    As a direct and proximate cause of Defendants' unlawful conduct. Plaintiff has

    27    suffered arid continues to suffer humiliation, emotional distress, physical pain and mental pain and

    28    anguish, all to her damage in a sum according to proof.

                                                     -22-
                                             COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 54 of 78 Page ID #:65




      1           163.     Defendants were aware of their obligation to provide reasonable accommodation,

      2   pursuant! to Government Code section 12940(m). However, Defendants failed to do so. Thus,

      3   Defenda;ts intentionally disregarded the Government Code and failed to provide Plaintiff

      4   reasonable accommodation, so as to cause injury to Plaintiff. Further, Defendants' conduct was

      5   despicabl'e in that it was carried on by Defendants with a willful and conscious disregard of the

      6   rights or 'safety of others, thereby constituting malice as defined by Civil Code section 3294.

      7           164.     Defendants' failure to provide Plaintiff reasonable accommodation was despicable,

      8   and subjected Plaintiff to cruel and unjust hardship by ignoring Plaintiff's work restrictions and

      9   risking *her harm to Plaintiff, in conscious disregard of Plaintiffs rights, thereby constituting

     10   oppress* as defined by Civil Code section 3294.

     11           1 6,5.   Defendants have acted in a malicious and oppressive manner due to their failure to

     12   provide Plaintiff reasonable accommodation, entitling Plaintiff to punitive damages.

     13           166.     Plaintiff has incurred and continues to incur legal expenses and attorney's fees.

     14   Pursuant to Government Code section 12965(b), Plaintiff is entitled to recover reasonable

     15   attorney's'fees and costs (including expert costs) in an amount according to proof.

     16          167.      The damages caused by Defendants are well in excess of the minimum subject

     17   matter jurisdictional amount of this Court and will be demonstrated according to proof.

     18          WHEREFORE, Plaintiff demands judgment as hereafter set forth.

     19
                                     XVI. TWELFTH CAUSE OF ACTION
    20               Failure to Engage in Good Faith Interactive Process(Gov. Code, § 12940(n)))
                                 (Against Defendants CVS and DOES 1 through 10)
    21

    22           168.      Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1

    23    through 167 of this Complaint as though fully set forth herein.

    24           169.      At all times mentioned herein, Defendants employed five or more persons, and

    25    Government Code sections 12900 et seq., were in full force and effect and binding on Defendants.

    26    These sectjons provide that it is an unlawful employment practice for Defendants to fail to engage

    27    in a timely, good faith interactive process with an employee to determine effective reasonable

    28    accommodations in response to a request by an employee with a disability pursuant to section

                                                     -23-
                                             COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 55 of 78 Page ID #:66




      1    12940(n)
                  ..

      2           1 70.   At all times relevant, Plaintiff was an employee of Defendants.

      3           171.    Plaintiff had a disability as defined by California Government Code section

      4    12926(m),and as such. Plaintiff is a member ofa protected class within the meaning of Government

      5   Code sections 12900 et seq. At all times material hereto,Plaintiff satisfactorily performed her duties

      6   and respOnsibilities as required by Defendants.

      7           1 72.   Defendants were aware that Plaintiff required accommodations as Plaintiff

      8   informed Defendants of her pregnancy. Further Plaintiff requested that Defendants make

      9   reasonable accommodation for her disability so that she would be able to perform her essential job

     10   requirements.

     11           173.    Plaintiff was willing to participate in an interactive process to determine whether

     12   reasonable accommodation could be made so that she would be able to perform her essential job

     13   requirements.

     14           1 74.   Defendants failed to participate in a timely good-faith interactive process with

     15   Plaintiff ti;) determine whether reasonable accommodation could be made.

     16           1 75.   As a result of Defendants' failure to engage in a good faith interactive process,
                    7


     17   Plaintiff Was harmed.

     18           176.    As a proximate cause of Defendants' willful, knowing, and intentional failure to

     19   engage in a good faith interactive process, Plaintiff has sustained, and continues to sustain,
                   4
    20    substantiq losses in earnings and other employee benefits.

    21           177.     As a direct and proximate cause of Defendants' unlawful conduct, Plaintiff has

    22    suffered and continues to suffer humiliation, emotional distress, physical pain and mental pain and

    23    anguish, all to her damage in a sum according to proof.

    24           11.      Defendants were aware of their obligation to engage in good faith interactive

    25    process só as to determine reasonable accommodation for Plaintiff, pursuant to Government Code

    26    section 12.940(n). However, Defendants failed to do so. Thus, Defendants intentionally disregarded

    27    the Government Code and failed to engage in good faith interactive process so as to determine

    28    reasonable., accommodation for Plaintiff, so as to cause injury to Plaintiff. Further, Defendants'

                                                    -24-
                                            COMPLAINT FOR DAMAGES
 Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 56 of 78 Page ID #:67




                       1    conduct was despicable in that it was carried on by Defendants with a willful and conscious

                       2    disregards of the rights or safety of others, thereby constituting malice as defined by Civil Code

                       3    section 3794.

                   4                179.     Defendants' failure to engage in good faith interactive process was despicable, and

                   5        subjectedTlaintiff to cruel and unjust hardship by failing to determine reasonable accommodation

                   6        for Plaintiff, risking further harm to Plaintiff, as herein alleged, in conscious disregard of Plaintiff's

                   7       rights, thereby constituting oppression as defined by Civil Code section 3294.

                   8                180.     Defendants have acted in a malicious and oppressive manner by failing to engage

                   9       in good faith interactive process to determine reasonable accommodation for Plaintiff, entitling

                  10       Plaintiff to punitive damages.
                                      1
                  11               1 81.    Plaintiff has incurred and continues to incur legal expenses and attorney's fees.
EL:

czo               12       Pursuant .to Government Code section 12965(b), Plaintiff is entitled to. recover reasonable
      ▪5 _
                  13       attorney's fees and costs (including expert costs) in an amount according to proof.
>         as
      >
          (...)
                  14               18'2.    The damages caused by Defendants are well in excess of the minimum subject
8w
w z               15       matter jurisdictional amount of this Court and will be demonstrated according to proof.
6.0               16               WHEREFORE, Plaintiff demands judgment as hereafter set forth.
▪ U-
7(
 ":1A


                  17
—
u oo


                                                   XVII. THIRTEENTH CAUSE OF ACTION
                  18                           (CFRA Discrimination/Interference (In Violation of FEHA))
                                                  (Against Defendants CVS and DOES 1 through 10)
                  19

                  ,0               183.     Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1

                  21       through 182 of this Complaint as if fully set forth herein.

                  22               184.     Under the Fair Employment and Housing Act ("FEHA"), Government Code

                  23       sections 12940 el seq., and more specifically, the California Family Rights Act ("CFRA"), it is an

                  24       unlawful employment practice for an employer to refuse to grant a request by any employee to take

                  25       up to 12 Work weeks in any 12 month period for family and medical leave. It is an unlawful

                  26       employment practice for an employer to interfere with an employee's right or ability to take up to

                  27       12 work weeks in any 12 month period for family and medical leave. It is an unlawful employment

                  28       practice for the employer to fail to guarantee, to each employer taking family or medical leave

                                                                       -25-
                                                               COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 57 of 78 Page ID #:68




      1   employment in the same or comparable position at the end of the family or medical leave. It is an

      2   unlawful;employment practice for an employer to refuse to hire, to discharge, fine, suspend, expel,

      3   discriminate or harass an employee because of an employee's exercise of the right to family care

      4   and medical leave; because of an individual's giving information or testimony as to his or her own

      5   family care and medical leave, or another person's family care and medical leave, in any inquiry or

      6   proceedihgs related to rights guaranteed under the California Family Rights Act.

      7           1 85.    At all times mentioned in this complaint, CVS was an employer who employed

      8   more than 50 employees in a 75 mile radius of Plaintiffs place of work.

      9           186.     At all times mentioned in this complaint, Plaintiff was an employee of Defendant
                    5
     10   and Plaintiff worked at least 1,250 hours during each previous 12 month period.
                     1
     11           1 87.   Plaintiffs protected status under the FEHA is Plaintiffs exercise of and/or attempts

     12   to exerciSe family and/or medical leave rights, including her right to baby-bonding leave, and/of

     13   Plaintiff's giving information and/or testimony as to Plaintiffs or another person's CFRA in an

     14   inquiry and/or proceedings related to rights guaranteed under the CFRA. Plaintiff complied with
                    ,1
     15   all applicable requirements, if any, of the Defednants and of the CFRA.

     16           188.    Defendant CVS knew, perceived, and/or believed that Plaintiff had the
                    5
     17   aforementioned protected status, described hereinabove.

     18           1 89.   At all times mentioned in this complaint, Plaintiff performed work competently for

     19   Defendants.

    20            190.    Defendants failed and refused to comply with the CFRA,as described hereinabove.

    21    Defendants refused to honor Plaintiff's family and medical leave; interfered with Plaintiff's right

    22    or ability to take family and medical leave, failed to guarantee Plaintiff's employment in the same

    23    or comparable position at the end of family or medical leave; and/or discharged, failed to reinstate,

    24    discriminated against and/or harassed Plaintiff because ofPlaintiffs exercise of and/or attempts to

    25    exercise family and/or medical leave rights and/or because of Plaintiffs giving information and/or

    26    testimony as to Plaintiff's or another person's family and medical leave in an inquiry and/or

    27    proceedings related to rights guaranteed under the CFRA.

    28           191.     The Plaintiffs exercise of, attempts to exercise and/or cooperation in providing
                    1
                                                    -26-
                                            COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 58 of 78 Page ID #:69




      1   information for family and medical leave was a motivating factor in Defendants' aforementioned

      2   decisionS:that were adverse to Plaintiff.

      3           192.     Plaintiffs exercise of, attempts to exercise and/or cooperation in providing

      4   information for family and medical leave was a motivating factor in Defendants' aforementioned

      5   decision to terminate Plaintiff; Defendants' failure to reinstate Plaintiff; Defendants' failure to

      6   guarantee. Plaintiff employment in the same or similar position after family and medical leave;

      7   Defendants' decision to discriminate against Plaintiff; and/or to harass Plaintiff.

      8           193.     As a direct, legal, and proximate cause of Plaintiffs aforementioned protected

      9   status, Defendants discriminated and harassed Plaintiffincluding, but not, limited to, the following

     10   ways: Defendants hired and/or assigned employees, who did not have Plaintiff's protected status,

     11   to assume the duties and responsibilities that Plaintiff had and/or sought; the employees that

     12   Defendants hired and/or assigned to assume the duties and responsibilities that Plaintiff had and/or

     13   sought were not as qualified as Plaintiff to assume those duties and responsibilities; Defendants

     14   made discriminatory statements based on Plaintiffs aforementioned protected status, as described

     15   hereinabove; Defendants gave no reason for the aforementioned adverse actions, described herein

     16   above, and/or gave a vague, false reason for the adverse actions; Defendants did not follow its own

     17   internal titles and procedures in taking adverse action against Plaintifff, Defendants treated Plaintiff
                     1
     18   differently, than employees not in the same protected status by giving those employees lesser or no

     19   discipline for the same or more grievous offenses than Defendants charged Plaintiff with;

    20    Defendant's have a pattern and practice of discriminating against employees in the aforementioned

    21    protected Status of Plaintiff, described hereinabove; and/or Defendants implemented policies and

    22    procedures that had an adverse impact on Plaintiff and other employees with the same protected

    23    status as Plaintiff, as described hereinabove.

    24            1 94.   As a direct, foreseeable, and proximate result of Defendants' conduct as alleged

    25    above, Plaintiff has suffered lost income,employment,and care opportunities, and has suffered and

    26    continues fo suffer other economic loss, the precise amount of which will be proven at trial.

    27            195.    As a direct, foreseeable and proximate result of Defendants' conduct, as alleged

    28    above, Plaintiff has suffered and continues to suffer great anxiety, embarrassment, anger, loss of

                                                     -27-
                                             COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 59 of 78 Page ID #:70




       1     enjoymeitt of life, and severe .emotional distress, the precise amount of which will be proven at

       2     trial.

      :3               196.   The conduct which Plaintiff complains of in this complaint, and which is alleged

       4    above, was carried out by the Defendants willfully, intentionally, and with oppression, malice and
                    is
       5    fraud and was carried out with conscious disregard of Plaintiff 's rights and as such Plaintiff is

      6     entitled to an award of exemplary damages according to proof. The aforementioned conducted on

       7     which punitive damages is alleged, as described hereinabove, was done with the advance

       8     knowledge by an officer, director and/or managing agent of Defendants, of the unfitness of the

      9     employee,and the employee was employed with a conscious disregard ofthe rights and/or safety or

     10     others. The aforementioned conducted on which punitive damages is alleged, as described

     1 1.   hereinabdve, was authorized, ratified and/or committed by an officer, director, and/or managing

     12     agent of Defendants.

     13               197.    As further direct, legal and proximate result of defendants' conduct, Plaintiff was

     14     caused to rand did employ the services ofcounsel to prosecute this action, and.is accordingly entitled

     15     to an awai'd of attorneys' fees according to proof.

     16               158.    The damages caused by Defendants are well in excess of the minimum subject

     17     matter jurisdictional amount of this Court and will be demonstrated according to proof.

     18               WHEREFORE,Plaintiff demands judgment as hereafter set forth.

     19
                                     XVHI. FOURTEENTH CAUSE OF ACTION
     20                         (Retaliation for Requests for CFRA (In Violation of FEHA)
                                   (Against Defendants CVS and DOES 1 through 10)
     21

    22                199.    Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1

    23      through 198 of this Complaint as though fully set forth herein.

    24                200.    Under the Fair Employment and Housing Act ("FEHA"), Government Code

    25      sections 12940 et seq., it is an unlawful employment practice for an employer to discharge, expel,

    26      or otherwise discriminate against any person because the person has opposed any practices

    27      forbidden under the Fair Employment and Housing Act or because the person has filed a complaint,

    28      testified or assisted in any proceedings under the Fair Employment and Housing Act.

                                                        -28-
                                                COMPLAINT FOR DAMAGES
 Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 60 of 78 Page ID #:71




           1            201.     Under the Fair Employment and Housing Act ("FEHA"), Government Code section

           2    12940 ON., it is an unlawful employment practice for an employer because of a person's Family

           3   and Medical Leave, to refuse to hire or employ the person, to refuse to select the person for a

           4   training program leading to employment, to bar or discharge the person from employment or from

           5   a training program leading to employment, or to discriminate against the person in compensation

           6   or in terms, conditions, or privileges of employment. It is unlawful, under the Fair Employment

           7   and Housing Act ("FEHA"), Government Code section 12940, for an employer to fail to make

           8   reasonable accommodation for the known physical or mental Family and Medical Leave of an

           9   employee. It is unlawful, under the Fair Employment and Housing Act ("FEHA''), Government

          10   Code section 12940, for an employer to fail to engage in a timely, good faith, interactive process

          11   with the employee to determine effective reasonable accommodations for an employee with a
;Z
 .C'
<
   c)     12   known physical or mental Family and Medical Leave. It is unlawful, under the Fair Employment
    3_
          13   and Housing Act ("FEHA") and Government Code sections 12940 et seq., to harass an employee
>  a.
▪-
   <
 =(-.)
          14   because of a person's Family and Medical Leave.

U
    0     15           202.     Plaintiff requested reasonable accommodation, requested to engage in an
    t..
    1

          16   interactive process, opposed CFRA discrimination and/or harassment by Defendants, complained
w oo      17   that Defendants failed to provide reasonable accommodation, failed to engage in an interactive
                          A
          18   process, committed CFRA discrimination and/or harassment, protested CFRA discrimination

          19   and/or har'assment by Defendants, when Plaintiff engaged in the aforementioned activity, Plaintiff

          20   was engaged in protected activity under the FEHA.

          21           203.     At all times mentioned in this complaint, Plaintiff performed work competently for

          22   Defendanfs.

          23           204.     Defendants made decisions adverse to the Plaintiff in regards to compensation and

          24   terms, cohditions and privileges of employment. Defendants terminated Plaintiff, refused to hire

          25   Plaintiff, refused to employ Plaintiff, and/or failed to reinstate Plaintiff.

          26           205.     Plaintiffs aforementioned protected activity, as described hereinabove, was a

          27   motivating factor in Defendants' decisions that were adverse to Plaintiff in regards to compensation

          28   and termsconditions and privileges of employment. Plaintiffs aforementioned protected activity,

                                                           -29-
                                                   COMPLAINT FOR DAMAGES
 Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 61 of 78 Page ID #:72




               1    as described hereinabove, was a motivating factor in Defendants' decision to terminate Plaintiff; to

               2    refuse to employ Plaintiff; and/or Defendants' failure to reinstate Plaintiff.

               3            206.    As a direct, legal, and proximate cause of Plaintiffs aforementioned protected

               4   status, described hereinabove, Defendants retaliated against Plaintiff including, but not limited to,

               5   the following ways: Defendants hired and/or assigned employees, who did not have Plaintiffs

               6   protected status, to assume the duties and responsibilities that Plaintiff had and/or sought; the

               7   employees that Defendants hired and/or assigned to assume the duties and responsibilities that

               8   Plaintiff had and/or sought were not as qualified as Plaintiff to assume those duties and

               9   responsibilities; Defendants made discriminatory statements based on Plaintiffs aforementioned

              10   protected status, as described hereinabove; Defendants gave no reason for the aforementioned

-a
              11   adverse actions, described herein above, and/or gave a vague and false reason for the adverse
030
              12   actions, Defendant did not follow its own internal rules and procedures in taking adverse action
     LO


.
..WrTr        13   against Plaintiff; Defendants treated Plaintiff differently than employees not in the same protected
   7.0
>
<>

          O
              14   status by giving those employees lesser or no discipline for the same or more grievous offenses

,
1=        Z   15   than Defendants charged Plaintiff with; Defendants have a pattern and practice of discriminating
^

              16   against employees in the aforementioned protected status of Plaintiff, described hereinabove;
—tr.)
LucC          17   and/or Defendants implemented policies and procedures that had an adverse impacton Plaintiff and

              18   other employees with the same protected status as Plaintiff, as described hereinabove.

              19            207.    As a direct, foreseeable, and proximate result of Defendants' conduct, as alleged

              20   above, Plaintiff has suffered lost income, employment, and career opportunities, and has suffered

              21   and continues to suffer other economic loss, the precise amount of which will be proven at trial.

              22            208.    As a direct, foreseeable and proximate result of Defendants' conduct, as alleged

              23   above, Plaintiff has suffered and continues to suffer great anxiety, embarrassment, anger, loss of

              24   enjoyment: of life, and severe emotional distress, the precise amount of which will be proven at

              25   trial.

              26            209.   The conduct which Plaintiff complains of in this complaint, and which is alleged

              27   above, was carried out by the Defendants willfully, intentionally, and with oppression, malice and

              28   fraud and Was carried out with conscious disregard of Plaintiff's rights as and as such Plaintiff is

                                                               -30-
                                                       COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 62 of 78 Page ID #:73




      1   entitled to an award of exemplary damages according to proof. The aforementioned conducted on

      2   which punitive damages is alleged, as described hereinabove, was done with the advance

      3   knowledge by an officer, director and/or managing agent of Defendants, of the unfitness of the

      4   employee, and the employee was employed with a conscious disregard of the rights and/or safety or

      5   others. Tlhe aforementioned conducted on which punitive damages is alleged, as described

      6   hereinabove.- was authorized, ratified and/or committed by an officer, director, and/or managing

      7   agent of Defendants.

      8           20.      As further direct, legal and proximate result of defendants' conduct, Plaintiff was

      9   caused to;and did employ the services of counsel to prosecute this action, and is accordingly entitled

     10   to an award of attorneys' fees according to proof.

     11           211.     The damages caused by Defendants are well in excess of the minimum subject

     12   matter jurisdictional amount of this Court, and will be demonstrated according to proof.

     13           WHEREFORE, Plaintiff demands judgment as hereafter set forth.

     14
                                   XIX. FIFTEENTH CAUSE OF ACTION
     15            (Unfair and Unlawful Business Practices (Bus. & Prof. Code, §§ 17200 et seq.))
                                (Against Defendants CVS and DOES 1 through 10)
     16

     17           21,2.    Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1

     18   through 211 of this Complaint as though fully set forth herein.

     19           213.     Plaintiff, on behalf of herself, brings these claims pursuant to Business &

     20   Professions Code sections 17200 et seq. The Conduct of Defendants as alleged in this Complaint

     21   has been and continues to be unfair, unlawful, and harmful to Plaintiff and the general public.

     22   Plaintiff seeks to enforce important rights affecting the public interest within the meaning of

     23   Californikcode ofCivil Procedure section 1021.5.

     24           214.     Plaintiff is a "person who has suffered injury in fact and has lost money or property

     25   as a result of such unfair competition" within the meaning of Business & Professions Code section

     26   17204, in that she has been deprived of wages, and therefore has standing to bring this cause for

     27   injunctive !relief, restitution, and other appropriate equitable relief.

    28           215.      Business & Professions Code sections 17200 et seq., prohibit unlawful and unfair

                                                      -31-
                                              COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 63 of 78 Page ID #:74




      1   business Fpractices,

      2           216.     Wage and hour laws express fundamental public policies. Providing employees

      3   with wages is also a fundamental public policy of this state and of the United States. California

      4   Labor Code section 90.5(a) artiCulates the public policies of this State to enforce vigorously

      5   minimum labor standards to ensure that employees are not required or permitted to work under

      6   substandard and unlawful conditions, and to protect law abiding employers and their employees
                   1
      7   from competitors who lower their cost by failing to comply with minimum labor standards,

      8   including failing to properly compensate employees.

     9           217.     Defendants, beginning at an exact date unknown to Plaintiff, but at least since the

     10   date four years prior to the filing of this suit, have committed acts of unfair competition as defined

     11   by the Unfair Business Practice Act, and have violated statutes of public policies. Through the

     12   conduct alleged in this Complaint, Defendants have acted contrary to these public policies, have

     13   violated Specific provisions of the Labor Code, and have engaged in other unlawful and unfair

     14   business practices in violation of Business & Professions Code section 17200 et seq., depriving

     15   Plaintiff and all interested persons, of the benefits and privileges guaranteed to all employees under

     16   law.
                   ;.•
     17          218.     The conduct of said Defendants as alleged herein, constitutes unfair competition in

     18   violation Of section 17200 of the Business & Professions ('ode, in that Defendants have violated

     19   Labor Code sections 201, 203, 226, 226.7, 510 and 1194.

    20           219.     Defendants, by engaging in the conduct herein alleged, including but not limited

    21    to,non-payment of all wages owed upon termination,failure to pay overtime compensation,failure

    22    to provide;:meal and rest breaks, and failure to provide reasonable accommodation, either knew, or

    23    in the exercise of reasonable care, should have known that such conduct was unlawful and a

    24    violation of section 17200 ofthe Business & Professions Code.

    25           220.     Unless restrained by this Court, Defendants will continue to engage in the unlawful

    26    conduct as alleged above. Pursuant to Business & Professions Code sections 17200 et seq., this

    27    Court should make such orders or judgments, including the appointment of a receiver, as may be

    28    necessary, to prevent unlawful employment practices by Defendants, their agents or employees, of

                                                     -32-
                                             COMPLAINT FOR DAMAGES
 Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 64 of 78 Page ID #:75




           1   any unlawful or deceptive practice prohibited by the Business & Professions Code, including but

           2   not limited to, restitution which may be necessary to restore Plaintiff and other similarly situated

           3   employees, the wages Defendants have unlawfully failed to pay.

           4           221.     Plaintiff's success in this action will enforce important rights affecting the public

           5   interest, and in that regard, Plaintiffsues on behalf ofthe general public as well as herselfand others

           6   similarlysituated. Plaintiffis entitled to restitution, civil penalties, declaratory and injunctive relief,

           7   and all other equitable remedies owing to her.

           8          222.      The action is seeking to vindicate a public right, and it would be against the interests
                        ;
           9   ofjustice,to penalize Plaintiff by forcing her to pay attorneys' fees from the recovery in this action.

          10   An award of attorneys' fees is appropriate pursuant to Code ofCivil Procedure section 1021.5 and

          11   otherwise.
Teo,.
=•=       12           WHEREFORE,Plaintiff demands judgment as hereafter set forth.
  u.)
H 5_
          13
> •c)
   0,                                   XX.    SIXTEENTH CAUSE OF ACTION
-r.
,
          14                        (Wrongful Termination (In Violation of Public Policy))
8w                                   (Against Defendants CVS and DOES 1 through 10)
 z  U.1
W OZ.     15
EL
 .rj0
U-
          16          223.     Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1

          17   through 222 of this Complaint as though fully set forth herein.

          18          224.     At all times herein mentioned in this Complaint, California Government Code

          19   sections 12940 et seq., and California Constitution Article 1, section 8, were in full force and effect

          20   and were binding on the Defendants and the Defendants were subject to their terms, and therefore

          21   Defendants were required to refrain from violations of public policy, including discrimination on

          22   the account of Plaintiff's gender, pregnancy, disability and/or injury, and requests for reasonable

          23   accommodation, among other things.

          24          225.     At all times relevant, Plaintiff was an employee of Defendants.

          25          224      Defendants informed Plaintiff of her termination on or around July 13, 2020.

          26          227.     Plaintiff believes, and based thereon alleges, that her gender, pregnancy, actual

          27   and/or paceived disability and/or injury, and requests for reasonable accommodation were

          28   substantial motivating reasons for Defendants' decision to terminate Plaintiff's employment.

                                                           -33-
                                                   COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 65 of 78 Page ID #:76




          1           228.       Defendants' wrongful termination of Plaintiff in violation of public policy caused

      2       Plaintiff harm.

      3               229.       As a proximate cause of Defendants' willful, knowing, and intentional wrongful

      4       termination of Plaintiff, Plaintiff has sustained, and continues to sustain, substantial losses in

      5       earnings and other employee benefits.

      6               210.      As a direct and proximate cause of Defendants' unlawful conduct, Plaintiff has

      7       suffered and continues to suffer humiliation, emotional distress, physical pain and mental pain and

      8       anguish, A to her damage in a sum according to proof.

      9               231.      Defendants were aware of their obligation not to wrongfully terminate Plaintiff

     10       based upOn her gender, pregnancy, actual and/or perceived disability andior injury, and requests

     11       for reasonable accommodation, pursuant to Public Policy. However, Defendants failed to do so.

     12       Thus, Defendants intentionally disregarded Public Policy and wrongfully terminated Plaintiff, so

     13       as to cause injury to Plaintiff. Further, Defendants' conduct was despicable in that it was carried on

     14       by Defendants with a willful and conscious disregard of the rights or safety of others, thereby

     15       constituting malice as defined by Civil Code section 3294.

     16              232.       Defendants' wrongful termination of Plaintiffs employment was despicable, and

     17       subjected Plaintiff to cruel and unjust hardship, as herein alleged, in conscious disregard of

     18       Plaintiff sf;rights, thereby constituting oppression as defined by Civil Code section 3294.

     19              233.       Defendants' wrongful termination of Plaintiff's employment was fraudulent in that

     20       Defendants intentionally misrepresented their reason for Plaintiff's termination. Said

     21       misrepresentation was made by Defendants in order to deprive Plaintiff of legal rights or otherwise

     22       cause her injury. Plaintiff believes and alleges that she was terminated due to her gender, pregnancy,

     23       actual and/or perceived disability and/or injury, and requests for reasonable accommodation.

    24        Defendants' misrepresentation of their reason for Plaintiff's termination thereby constitutes fraud

    25        as defined by Civil Code section 3294.

    26               234.       Defendants have acted in a malicious, oppressive and fraudulent manner in their

    27        wrongful termination of Plaintiff's employment, entitling Plaintiff to punitive damages.

    28               235.       Plaintiff has incurred and continues to incur legal expenses and attorney's fees.

                                                          -34-
                                                  COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 66 of 78 Page ID #:77




      1   Pursuant to Government Code section 12965(b), Plaintiff is entitled to recover reasonable

      2   attorney' fees and cost of suit (including expert costs) in an amount according to proof.

      3          236.     The damages caused by Defendants       are   well in excess of the minimum subject

      4   matter juiisdictional amount of this Court and will be demonstrated according to proof.

      5          WHEREFORE,Plaintiff demandsjudgment as hereafter set forth,

     6                                    XXI.    PRAYER FOR RELIEF

     7           WHEREFORE, Plaintiff prays for judgment, against Defendants, and each of them, as

     8    follows:

     9    ON ALLCAUSES OFACTION

     10          1 .;;   For general damages according to proof but no less than $1,000,000.00;

     II          2.      For special damages according to proof but no less than $1,000,000.00;

     12          3.      For punitive damages in an amount appropriate to punish Defendants and deter

     13   others from engaging in similar misconduct on appropriate legal causes of action:

     14          4.      For compensatory damages according to proof;

     15          5.      For penalties of no less than $100,000.00;

     16          6.;     For prejudgment interest;

     17          7.      For costs of suit, including attorneys' fees; and

    18           8.      For such other relief as the Court deems just and proper.

    19

    20
          DATED:Pecember       IS ,2021                 THE LAW OFFICES OF Gv          T. GABRIEL

    21
                                                        By:
    22
                                                               avirTGriel,Esq.
    23                                                  Attorney for PLAINTIFF,JAQUELINE PONCE
    24

    25

    26

    27

    28

                                                   -35-
                                           COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 67 of 78 Page ID #:78




      1                                    DEMAND FOR JURY TRIAL,

      2

      3          NOTICE IS.HEREBY GIVEN .that Plaintiff, JAQLJELINE PONCE,hereby demands trial

      4   by jury in the above-entitled matter.

      5

      6
          DATED December         13,2021           THE LAW'OFFICES          I      IEL

      7
                                                   By:
      8
                                                        G      T.     iel, Esq.
     9
                                                   Attorney for PL   NTIFF, JAQUEL1NE PONCE
     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

    20

    21

    22

    23

    24

    25

    26

    27

    28

                                                   -36-
                                           COMPLAINT FOR DAMAGES
 Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 68 of 78 Page ID #:79




          1

          2

          3

          4

          5

          6

          7

          8

          9

         10

         11

         12
<
,
 -
         13
   :
   0
  C0 ,
  ><
         14
ow>:
u_zw
ooz      15
U.3<40

         16
0In

         17
<eo
         18

         19

         20

         21

         22

         23

         24

         25

         26

         27
                                   EXHIBIT A
         28


                           EXHIBIT A ATTACHED TO COMPLAINT FOR DAMAGES
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 69 of 78 Page ID #:80

           STATE OF CALIFORNIA I Business. Consumer Services and Housino Aoencv              GAVIN NEWSOM GOVERNOR
                                                                                                  KEVIN KISH, DIRECTOR
           DEPARTMENT OF FAIR EMPLOYMENT & HOUSING
pit oh      2218 Kausen Drive, Suite 1061 Elk Grovel CA I 95758
           (80O)884-1684 (Voice) 1(800) 700-2320(Tri).l California's Relay Service at 711
            ht1p://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov


    October 19, 2021

    Gavril Gabriel
    8255 Firestone Blvd., Suite 209
    Downey, California 90241

    RE:    Notice'to Complainant's Attorney
           DFEH Matter Number: 202110-14973505
           Right to Sue: Ponce / Garfield Beach CVS LLC dba CVS

    Dear Gavril Gabriel:

    Attached is a copy of your complaint of discrimination filed with the Department of Fair
    Employment and Housing (DFEH) pursuant to the California Fair Employment and
    Housing Act, Government Code section 12900 et seq. Also attached is a copy of your
    Notice of Case Closure and Right to Sue.

    Pursuant to Government Code section 12962, DFEH will not serve these
    documents on the employer. You must serve the complaint separately, to all named
    respondents. Please refer to the attached Notice of Case Closure and Right to Sue for
    information regarding filing a private lawsuit in the State of California. A courtesy "Notice
    of Filing of Discrimination Complaint" is attached for your convenience.

    Be advised that the DFEH does not review or edit the complaint form to ensure that it
    meets procedural or statutory requirements.

    Sincerely,

                (
    Department offFair Employment and Housing




                                                                                            DFEH-ENF 80 AS
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 70 of 78 Page ID #:81

           STATE OF CALIFORNIA I Business Consumer Services and HousIna Mew/                 GAVIN NEWSOM GOVERNOR

           DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                               KEVIN KISH, DIRECTOR

           2218 Kausen Drive, Suite 100 I Elk Grove I CA 195758
           (800) 884-1884 (Voice) 1(800)700-2320(TTY) I California's Relay Service at 711
            http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov


     October 19, 2021

     RE:   Notice of Filing of Discrimination Complaint
           DFEH Matter Number:202110-14973505
           Right to Sue: Ponce / Garfield Beach CVS LLC dba CVS

    To All Respondent(s):

    Enclosed is a copy of a complaint of discrimination that has been filed with the
    Department of Fair Employment and Housing (DFEH) in accordance with Government
    Code section ;12960. This constitutes service of the complaint pursuant to Government
    Code section 12962. The complainant has requested an authorization to file a lawsuit. A
    copy of the NC,)tice of Case Closure and Right to Sue is enclosed for your records.

    This matter may qualify for DFEH's Small Employer Family Leave Mediation pilot
    program. Under this program, established under Government Code section 12945.21,
    a small employer with 5 -19 employees, charged with violation of the California Family
    Rights Act, Government Code section 12945.2, has the right to participate in DFEH's
    free voluntarymediation service. Under this program both the employee requesting an
    immediate right to sue and the employer charged with the violation may request that all
    parties participate in DFEH's free voluntary mediation service. A request for mediation
    must be made,within 30 days of receipt of the Notice of Case Closure and Right to Sue.
    If mediation is'requested, the employee is prohibited from filing a civil action until
    mediation is cOmpiete. The employee's statute of limitations to file a civil action,
    including for all related claims not arising under section 12945.2, is tolled from DFEH's
    receipt of a mediation request under section 12945.21 until mediation is complete. To
    request DFEH.Small Employer Family Leave Mediation, email
    DRDOnlinerequests@dfeh.ca.gov and include the DFEH matter number indicated on
    the Right to Sue notice.

    Please refer to the attached complaint for a list of all respondent(s) and their contact
    information.

    No response to DFEH is requested or required.

    Sincerely,


    Department ofiFair Employment and Housing




                                                                                            DFEH-ENF 80 AS
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 71 of 78 Page ID #:82

            STATE OF dALIFORNIA I Business Consumer Services and Housina Aciencv             GAVIN NEWSOM GOVERNOR
                                                                                                  KEVIN KISH, DIRECTOR
            DEPARTMENT OF FAIR EMPLOYMENT & HOUSING
           2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
           (800)884-1684 (Voice) I (800)700-2320(TTY) I California's Relay Service at 711
            http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov
                       1
     October 19, 2021

    Jaqueline Porce
    8255 Firestone Blvd., Suite 209
    Downey, California 90241

     RE:    Noticeof'Case Closure and Right to Sue
            DFEH Matter Number: 202110-14973505
            Right to Sue: Ponce / Garfield Beach CVS LLC dba CVS

     Dear Jaqueline Ponce:

     This letter informs you that the above-referenced complaint filed with the Department of
     Fair Employment and Housing (DFEH) has been closed effective October 19, 2021
     because an immediate Right to Sue notice was requested.

    This letter is also your Right to Sue notice. According to Government Code section
    1 2965, subdivision (b), a civil action may be brought under the provisions of the Fair
    Employment and Housing Act against the person, employer, labor organization or
    employment agency named in the above-referenced complaint. The civil action must be
    filed within one year from the date of this letter.

    This matter may qualify for DFEH's Small Employer Family Leave Mediation pilot
     program. Under this program, established under Government Code section 12945.21, a
    small employer with 5 -19 employees, charged with violation of the California Family
     Rights Act, Government Code section 12945.2, has the right to participate in DFEH's
    free voluntary Mediation service. Under this program both the employee requesting an
    immediate rigtit to sue and the employer charged with the violation may request that all
    parties participate in DFEH's free voluntary mediation service. A request for mediation
    must be submitted to the DFEH within 30 days of receipt of the Notice of Case Closure
    and Right to Sue. If mediation is requested, the employee is prohibited from filing a civil
    action until mediation is complete. The employee's statute of limitations to tile a civil
    action, including for all related claims not arising under section 12945.2, is tolled from
    DFEH's receipt of a mediation request under section 12945.21 until mediation is
    complete. To (equest DFEH Small Employer Family Leave Mediation, email
    DRDOnlinereq'pests@dfeh.ca.gov and include the DFEH matter number indicated on
    the Right to Sue notice.

    To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
    Opportunity COmmission (EEOC)to file a complaint within 30 days of receipt of this
    DFEH Notice df Case Closure or within 300 days of the alleged discriminatory act,
    whichever is earlier.

    Sincerely,


                                                                                            DFEH-ENF 80 RS
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 72 of 78 Page ID #:83

           STATE OF CALIFORNIA I Susiness   cOnsumer Services and Housina Aoencv            .6Avnv NEWkitvl GOVERNOR
                                                                                                 KEVIN KiSH. DIRECTOR
           DEPAhTMENT OF FAIR EMPLOYMENT & HOuSING
           2218 Kaus'en Drive. Suite 100 I Elk Grove I CA I 95758
          (800)884-1684 (Voice) I (800)700-2320(TTY) I California's Relay Service at 711
           http://www.tlfeh.ca.gov I Email: contaacenter@dfeh.ca.gov




     Department Of Fair Employment and Housing




                                                                                           DFEH-ENF 80•FiS:
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 73 of 78 Page ID #:84




  1                      COMPLAINT OF EMPLOYMENT DISCRIMINATION
                               BEFORE THE STATE OF CALIFORNIA
  2                    DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                       Under the California Fair Employment and Housing Act
  3
                                   (Gov. Code,§ 12900 et seq.)
  4
      In the Matterof the Complaint of
  5    Jaqueline Ponce                                                 DFEH No. 202110-14973505

  6                                    Complainant,
      VS.
  7

  8    Garfield Beach CVS LLC dba CVS
       One CVS Drive
  9    Woonsocket, Rhode Island 02895

 10                                    Respondents

11

 12
    1. Respondent Garfield Beach CVS LLC dba CVS is an employer subject to suit under the
 13 California Fair Employment and Housing Act(FEHA)(Gov. Code,§ 12900 et seq.).

 14

15 2. Complainant Jaqueline Ponce, resides in the City of Downey, State of California.

16
    3. Complainant alleges that on or about July 13, 2020, respondent took the following
1 7 adverse actions:

18 Complainant was harassed because of complainant's sex/gender, disability (physical or
   mental), other, family care or medical leave (cfra), pregnancy, childbirth, breast feeding,
19
   and/or related medical conditions.
20
    Complainant was discriminated against because of complainant's sex/gender, disability
21 (physical or mental), other, pregnancy, childbirth, breast feeding, and/or related medical
    conditions, family care or medical leave (cfra) and as a result of the discrimination was
22 terminated, forced to quit, denied any employment benefit or privilege, denied reasonable
    accommodatiorffor a disability, denied accommodation for pregnancy, other, denied work
23. opportunities orassignments, denied family care or medical leave (cfra).

24 Complainant experienced retaliation because complainant requested or used a
   pregnancy-disability-related accommodation, requested or used a disability-related
25 accommodation:and as a result was terminated, laid off, denied any employment benefit or

26                                                    -1-
                                     Complaint — DFEH No. 202110-14973505
27
      Date Filed: October 19, 2021
28
                                                                                         DFEH-ENF 80 RS
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 74 of 78 Page ID #:85




  1   privilege, denied reasonable accommodation for a disability, denied accommodation for
      pregnancy, other, denied family care or medical leave (cfra).
  2

 3 Additional Complaint Details: Plaintiff's hiring: Defendant Garfield Beach CVS LLC dba
   CVS (hereafter "CVS" or "Defendant") hired Plaintiff Jaqueline Ponce (hereafter "Ms. Ponce"
 4 or "Plaintiff') in'or around 2009 as a Cashier. Plaintiff worked for Defendant at its location of
   1747 N. Cahuenga Boulevard, Hollywood, California 90288. Approximately one year after
 5 Plaintiff's hiring, Defendant promoted her to Supervisor. Ms. Ponce's job duties included
   making sure the store was in order, working as a cashier, providing customer service to
 6
   those in need Of help, and ensuring that employees were doing the tasks assigned to them,
 7 among other things. Plaintiff's most recent hourly rate while employed by Defendant was
   $19.45. At all times relevant, Plaintiff performed her job duties competently and above
 8 expectation, and Plaintiff did not receive any write ups or warnings during her employment.

  9 In or around March of 2019, Ms. Ponce went out on disability due to a back injury. While on
    disability, Ms. Ponce regularly communicated with Defendant's Human Resources
10 department in order to provide updates regarding her disability status and to check in.
    In or around October of 2019, Ms. Ponce returned to work and completed her work shifts as
1 1 normal. During this same month, Plaintiff informed the store manager, Laxman, and Amy, a
    supervisor, that Plaintiff was pregnant.
12
    On or around December 12, 2019, Ms. Ponce went to the hospital due to an ankle fracture.
13 As a result, Ms: Ponce was placed on disability for approximately eight (8) weeks. Ms.
    Ponce's husband went directly to Garfield Beach LLC dba CVS to inform them of Ms.
14 Ponce's injury. In addition, Ms. Ponce texted the store manager, Laxman to inform him of
    her injury. Laxman told Ms. Ponce to contact Human Resources. Thereafter Plaintiff
15
    contacted Human Resources and spoke with a representative who informed her that after
16 seven days, Ms. Ponce would be able to apply for disability. However, Ms. Ponce was
    unable to apply:for disability until she saw her doctor for her next appointment scheduled on
17 January 9th, 2020.

18 On or around January 9th, 2020, Ms. Ponce visited her doctor, who placed Plaintiff on
   disability until March of 2020. Ms. Ponce was due to deliver her child around this time.
19
   On or around March 1st, 2020 Ms. Ponce delivered her child and notified Human Resources
20 that she would like to use additional disability for FMLA. Ms. Ponce had been granted this
   disability leave which ended around May of 2020.
21 Ms. Ponce thereafter contacted Human Resources and extended her leave until she was to
   report back to work on June 6th, 2020.
22                   3
   On or around June 5th, 2020 Ms. Ponce called Human Resources requesting additional
23 time for FMLA. The Human Resources representative told Ms. Ponce,"Okay I am going to
   send it for review, and we will let you know." Ms. Ponce did not hear back and continued to
24
   take her leave.
25

26                                                    -2-
                                     Complaint — DFEH No. 202110-14973505
27
      Date Filed: October 19, 2021
28
                                                                                          DFEH-ENF 80 RS
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 75 of 78 Page ID #:86




  1 On or around jply 13th, 2020 Ms. Ponce called Human Resources to check in regarding her
    leave and returning to work. The Human Resources representative notified Ms. Ponce that
  2 she had been terminated because Plaintiff's FMLA request had been denied. Ms. Ponce
    asked why she!never received an email, letter, or call to inform her of this denial. The
  3 Human Resouites representative informed Ms. Ponce that they had sent the denial to Ms.
    Ponce's email;1,however, after a thorough search, Ms. Ponce did not receive any email.
  4
    Defendant wrafully terminated Plaintiff and failed to notify her that her employment had
  5 been terminatep. Plaintiff believes and based thereon alleges that Defendant terminated
    Plaintiff due to her disability and/or perceived disability, and in retaliation for Plaintiff's
  6
    requests for reasonable accommodation.
  7
    Throughout Plaintiff's employment with Defendant, Plaintiff did not regularly receive rest
  8 breaks accordiAg to Labor Code section 226.7, as Plaintiff's rest breaks were often
    interrupted. Defendant failed to provide Plaintiff rest period penalties for each workday on
  9 which Plaintiff was not able to take her rest breaks.

 10 Throughout Plaintiff's employment with Defendant, Plaintiff did not regularly receive meal
     breaks accordiAg to Labor Code section 226.7. Further, Plaintiff could not leave Defendant's
 1 1 location during her lunch break. Defendant failed to provide Plaintiff meal period penalties
     for each workday on which Plaintiff was not able to take her meal breaks.
 12
     Defendant faile8 to provide Plaintiff all wages owed to her upon her termination, including
 13 but not limited tq unpaid meal period and rest period penalties, in violation of Labor Code
     section 201.
 14
    As a result of Dpfendants' discrimination, retaliation and wrongful employment termination,
 15
    Plaintiff has ben harmed. Plaintiff seeks economic and non-economic damages, in addition
 16 to interest, attorney's fees, and costs.

 17

 18

 19

20

21

22

23

24

25

26                                                   -3-
                                     Complaint — DFEH No. 202110-14973505
27
      Date Filed: October 19, 2021
28
                                                                                          DFEH-ENF 80 AS
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 76 of 78 Page ID #:87




  1   VERIFICATION
 2 I, Gavril T. Gabriel, am the Attorney in the above-entitled complaint. I have read the
   foregoing coniplaint and know the contents thereof. The matters alleged are based
 3
   on informatiori and belief, which I believe to be true.
 4
   On October lb, 2021, I declare under penalty of perjury under the laws of the State of
 5 California that the foregoing is true and correct.
 6                                                                          Downey, CA
 7
 8
 9
 10
11
12
 13
 14
15
16,
17
18
19
20
21
22
23
24
25
26                                                    -4-
                                     Complaint — DFEH No. 202110-14973505
27
      Date Filed: October 19, 2021
28
                                                                                OFEH-ENF 80 RS
Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 77 of 78 Page ID #:88

                                                                                                         Service of Process
                                                                                                         Transmittal
                                                                                                         12/20/2021
                                                                                                         CT Log Number 540770022
     TO:         Serviceof Process
                 CVS Health Companies
                 1 CVS DR MAIL CODE 1160
                 WOONSOCKET, RI 02895-6146

     RE:         Process Served in New York

     FOR:        Garfield Beach CVS, L.L.C. (Domestic State: CA)




     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

     TITLE OF ACTION:                                  Re: Jaqueline Ponce, An Individual // To: Garfield Beach CVS, L.L.C.
     DOCUMENT(S) SERVED:                               --
     COURT/AGENCY:                                     None Specified
                                                       Case # 21STCV45981
     NATURE OF ACTION:                                 Employee Litigation - Wrongful Termination
     ON WHOM PROCESS WAS SERVED:                       C T Corporation System, New York, NY
     DATE AND HOUR OF SERVICE:                         By Process Server on 12/20/2021 at 01:52
     JURISDICTION SERVED :                             New York
     APPEARANCE OR ANSWER DUE:                         None Specified
     ATTORNEY(S) / SENDER(S):                          None Specified
     ACTION ITEMS:                                     CT has retained the current log, Retain Date: 12/21/2021, Expected Purge Date:
                                                       12/26/2021

                                                       Image SOP

                                                       Email Notification, Serviceof Process service_of_process@cvs.com

     REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                       28 Liberty Street
                                                       New York, NY 10005
                                                       800-448-5350
                                                       MajorAccountTeam1@wolterskluwer.com
     The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
     relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
     of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
     advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
     therein.




                                                                                                         Page 1 of 1 / AS
  Case 2:22-cv-00402-DSF-AGR Document 1-1 Filed 01/19/22 Page 78 of 78 Page ID #:89


                                                                 Wotters Kluwer

                           PROCESS SERVER DELIVERY DETAILS




Date:                         Mon, Dec 20, 2021

Server Name:                  michael marra




Entity Served                 GARFIELD BEACH CVS, L.L.C.

Case Number                   2151CV45981

J urisdiction                 NY




  1 1 1 1 1 1 111111111111111111111111111111111111 1 1 1111111
